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                              8
                              9                          UNITED STATES DISTRICT COURT
                             10                        CENTRAL DISTRICT OF CALIFORNIA
                             11 JORDAN OROZCO MADERO and                          CASE NO. 5:24-cv-00073-KK-DTB
                                ESTEBAN OROSCO on behalf of
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                             12 themselves and all others similarly               DEFENDANT’S REPLY IN
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                                situated,                                         SUPPORT OF MOTION FOR
                             13                                                   TERMINATING SANCTIONS, OR
                                            Plaintiffs,                           ALTERNATIVELY, EVIDENTIARY
                             14                                                   SANCTIONS, AGAINST
                                       v.                                         PLAINTIFFS FOR FAILURE TO
                             15                                                   COMPLY WITH DISCOVERY
                                McLANE FOODSERVICE, INC., a                       OBLIGATIONS:
                             16 Texas Corporation, and DOES 1-10,
                                inclusive,                                        (1) MEMORANDUM OF POINTS
                             17                                                       AND AUTHORITIES
                                            Defendants.
                             18                                                   (2) SUPPLEMENTAL
                                                                                      DECLARATION OF MATTHEW
                             19                                                       C. KANE
                             20
                                                                                  Date: March 6, 2025
                             21                                                   Time: 9:30 a.m.
                                                                                  Crtrm.: 3
                             22                                                   Judge: Hon. Kenly Kiya Kato
                             23
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                                        DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR TERMINATING SANCTIONS OR ALTERNATIVELY, EVIDENTIARY
                                                        SANCTIONS, AGAINST PLAINTIFFS FOR FAILURE TO COMPLY WITH DISCOVERY OBLIGATIONS
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                              1                   MEMORANDUM OF POINTS AND AUTHORITIES
                              2 I.      INTRODUCTION1
                              3         The overarching aim of Plaintiffs’ Opposition is twofold: (1) predictably, to
                              4 deflect the Court’s focus away from their admitted discovery violations; and
                              5 (2) remarkably, to shift blame their conduct to MFS. Both tactics fail.
                              6         First, Plaintiffs attempt to deflect focus and attention away from the real issue
                              7 before the Court: that the sanctions sought can and should be imposed for their
                              8 admitted failure to appear for their noticed depositions on two separate occasions and
                              9 timely comply with their disclosure obligations. Instead, Plaintiffs regurgitate their
                             10 debunked theory that the Court’s MCC Order (Dkt. #23) stayed discovery regarding
                             11 their state law claims. But this is belied by the actual language of the MCC Order and
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                             12 the procedural status of the case at that time, and contradicts their own representations
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                             13 made to this Court and in their concurrently pending state court PAGA action that
                             14 acknowledge any such stay was of limited scope: it merely stayed the Court’s decision
                             15 on their MCC and permitted limited discovery on a threshold, dispositive issue
                             16 regarding their FLSA claim before discovery otherwise was permitted. It did not
                             17 otherwise further stay all discovery on their state law claims.
                             18         Second, Plaintiffs improperly attempt to shift the blame for their failure to
                             19 comply with their discovery obligations to MFS, complaining that MFS should have
                             20 accepted their “informal resolution” to be deposed after expiration of the fact
                             21 discovery deadline. That proposed “informal resolution” was wholly illusory because
                             22 Plaintiffs had no ability to unilaterally extend that Scheduling Order deadline, nor was
                             23 the Court likely to approve a stipulation to extend it (as stated in its Standing Order).
                             24         Plaintiffs argue that terminating sanctions should be reserved for “extreme
                             25 circumstances.” This is just such a case because Plaintiffs’ are recidivists in not
                             26 complying with the Court’s rules and deadlines, and their numerous willful, bad faith
                             27
                             28         1
                                         Unless otherwise specifically defined herein, capitalized terms used in this
                                  Reply have the same meaning as defined in MFS’s opening briefing.
                                                                                    1
                                            DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR TERMINATING SANCTIONS OR ALTERNATIVELY, EVIDENTIARY
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                              1 and flagrant discovery violations have prejudiced MFS’s ability to obtain discovery
                              2 to which it is indisputably entitled to prepare its defenses to Plaintiffs’ claims.
                              3         Accordingly, terminating sanctions (i.e., dismissal of their remaining individual
                              4 claims with prejudice) should be granted against Plaintiffs. Alternatively, and at a
                              5 minimum, Plaintiffs’ violations warrant the imposition of evidentiary sanctions.
                              6 II.     THIS IS NOT A “DISCOVERY MOTION” AND IS NOT SUBJECT TO
                                        THE SCHEDULING ORDER DEADLINES APPLICABLE TO SUCH
                              7         MOTIONS
                              8         Plaintiffs erroneously argue that this is a “discovery motion that violates the
                              9 Scheduling Order,” but they fail to cite to any authority supporting that
                             10 mischaracterization—because none exists. Opp. at 6:13-14. As explained in Stewart
                             11 v. Wachowski, which MFS cited and Plaintiffs ignore, a motion seeking sanctions is
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                             12 not a “discovery motion” of the type referenced in the Court’s Scheduling Order. 2005
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                             13 WL 6186374, at *9 (C.D. Cal. June 14, 2005) (Morrow, J.). The Stewart plaintiff (like
                             14 Plaintiffs here) argued that defendants’ Rule 37(d) motion must be denied “because
                             15 they failed to comply with the court’s order that ‘[a]ll discovery motions … be filed
                             16 sufficiently in advance of the discovery cut-off date that they may be heard on or
                             17 before that date.’” Id. The Stewart court rejected this argument on the grounds that,
                             18 inter alia, “[o]f necessity … a motion seeking sanctions for failure to comply with
                             19 discovery must follow a party’s failure to appear and/or respond.” Id. (emph. in orig.).
                             20 Because the Stewart plaintiff’s “second failure to appear for deposition did not occur
                             21 until the week before the discovery cut-off set by the court,” the court held that the
                             22 defendants “could not have filed [the] motion in time for it to be heard prior to the
                             23 [discovery] cut-off date.” Id. (emph. added). Similarly here, Plaintiffs failed to appear
                             24 for their depositions for the second time the week of the January 24, 2025 fact
                             25 discovery cut-off date (despite initially stating on January 14, 2025 that they were
                             26 available and would appear for their depositions), and belatedly served their initial
                             27 disclosures just 10 days before the close of fact discovery (and mischaracterized them
                             28 as “supplemental” disclosures. Therefore, here, as in Stewart, it was impossible for

                                                                                 2
                                         DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR TERMINATING SANCTIONS OR ALTERNATIVELY, EVIDENTIARY
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                              1 MFS to have sought relief from the Court before the fact discovery cut-off date.
                              2        Moreover, this Motion does not request the type of relief typically sought in a
                              3 discovery motion aimed at facilitating further discovery. Indeed, MFS does not seek
                              4 to narrow or resolve any outstanding discovery disputes between the parties, to compel
                              5 further responses or production of documents, or to require Plaintiffs to sit for their
                              6 depositions. Instead, this Motion seeks sanctions pursuant to Rule 37 for Plaintiffs’
                              7 flagrant discovery violations. Thus, it is not a motion “relating to discovery”; instead,
                              8 it is a “motion relating to sanctions pursuant to Rule 37.” Hoffman v. Constr.
                              9 Protective Servs., Inc., 541 F.3d 1175, 1179 (9th Cir. 2008) (motion for evidentiary
                             10 sanctions for failure to comply with Rule 26 disclosure obligations was “not a motion
                             11 ‘relating to discovery pursuant to [Fed. R. Civ. P. ] 26-37.’”).
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                             12        Therefore, because this Motion is not a “discovery motion,” it is not subject to
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                             13 nor does it run afoul of the fact discovery completion deadline set by the Scheduling
                             14 Order, and it is timely.
                             15 III.   PLAINTIFFS CONTINUE TO MAKE MISREPRESENTATIONS
                             16        ABOUT THE STATE OF DISCOVERY AND MFS’S COMPLIANCE IN
                                       AN ATTEMPT TO DEFLECT BLAME TO MFS FOR THEIR FAILURE
                             17        TO COMPLY WITH THEIR DISCOVERY OBLIGATIONS
                             18        At no point has MFS “proceeded as though there was a stay on the state law
                             19 claims while the Court adjudicated [its] MCA exemption defense.” Opp. at 3:27-4:2.
                             20 Instead, MFS has repeatedly maintained in its filings with the Court and its
                             21 communications with Plaintiffs that the Court’s MCC Order [Dkt. #23] stayed only
                             22 Plaintiffs’ MCC. See, e.g., Dkt. #107. It has also repeatedly stated its understanding
                                                                      2


                             23 that the discovery stay under Rule 26 was terminated not later than July 11, 2024,
                             24 when the parties filed their Joint Rule 26(f) Report, see Dkt. #64, and certainly by
                             25 August 2, 2024, when the Court entered its Scheduling Order, Dkt. #79.
                             26        Nowhere in the MCC Order did the Court ever state that discovery was stayed
                             27
                                       2
                                        MFS presented a detailed discussion of the Court’s orders pertaining to
                             28 discovery and motion practice in this action thus far in response to Plaintiffs’ since-
                                denied request for dismissal. See Dkt. #107 at 3-6.
                                                                                   3
                                           DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR TERMINATING SANCTIONS OR ALTERNATIVELY, EVIDENTIARY
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                              1 in this action, nor do Plaintiffs cite or quote any language that could reasonably be
                              2 interpreted that way. See Opp. at 3:15-4:18. Indeed, there would have been no reason
                              3 for the Court to say it was staying discovery in its MCC Order because, as of March
                              4 13, 2024, neither a Scheduling Conference had been set by the Court nor had the
                              5 parties engaged in a conferral pursuant to Rule 26. 3 Accordingly, pursuant to Rule
                              6 26(d)(1), discovery was already stayed at least until the parties’ Rule 26(f) conference
                              7 occurred—which was no later than July 11, 2024—and the MCC Order lifted that stay
                              8 to allow the parties to conduct limited discovery regarding Plaintiffs’ MCA overtime
                              9 exemption status. The Court never issued any order that prevented Plaintiffs from
                             10 conducting discovery or relieved them of their obligation to serve initial disclosures
                             11 regarding their individual or putative class action state law claims in this action once
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                             12 the Rule 26(d)(1) discovery stay terminated—and they have identified none. See Opp.
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                             13 4:15-22.
                             14        Nor can Plaintiffs credibly claim that MFS believed such a stay was in effect
                             15 because, unlike Plaintiffs, MFS served its initial disclosures on August 19, 2024 in
                             16 accordance with its proposed deadline to do so. Dkt. #113-2 (Kane Decl., Exh. B).
                             17 Plaintiffs’ supposed examples of MFS’s “own conduct” that purportedly demonstrate
                             18 its “understanding that the litigation was being phased” are blatantly misrepresented:
                             19        • MFS did not wait until after the Court ruled on the cross motions for
                                         summary judgment in “late-December 2024” to notice Plaintiffs’
                             20          depositions as they incorrectly claim (Opp. at 4:5-6 [misrepresenting that
                                         MFS did not notice Plaintiffs’ depositions until late-December 2024]).
                             21          Rather, MFS first noticed Plaintiffs’ depositions on August 15, 2024 to take
                                         place in August or September 2024;
                             22
                                       • Plaintiffs admittedly knew that MFS sought to depose them on their state
                             23          law claims as early as August 2024 because one of their stated reasons for
                                         their refusal to appear for their first set of noticed depositions was to4 give
                             24          them time to “prepare … for depos on the labor code claims as well”;
                             25
                             26        3
                                         The Court issued an order setting a Scheduling Conference on June 5, 2024.
                                Dkt. #47.
                             27        4
                                         Kane Decl., ¶¶ 2, 4, Exhs. A & C (emph. added). In other words, in August
                             28 2024, neither Plaintiffs nor MFS were under the impression that discovery regarding
                                Plaintiffs’ state law claims was in any way stayed by the Court’s MCC Order.
                                                                                   4
                                           DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR TERMINATING SANCTIONS OR ALTERNATIVELY, EVIDENTIARY
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                              1         • Plaintiffs fail to explain the relevancy of the timing of MFS’s written
                                          discovery directed to Plaintiffs’ state law claims (Opp. at 4:9-10 [claiming
                              2           MFS waited until after the Court’s rulings on the Parties’ cross motions for
                                          summary judgment in December 2024 to serve written discovery]). The
                              3           notion that MFS believed discovery had been stayed as to Plaintiffs’ state
                                          law claims is inconsistent with its service of initial disclosures and
                              4           deposition notices regarding those claims months earlier in August 2024;
                              5         • Plaintiffs incorrectly state that MFS has not filed any motions to dismiss
                                          their state law claims (Opp. at 4:11-12 [claiming MFS has not filed any
                              6           motions to dismiss as to the state law claims]). On the contrary, MFS twice
                                          moved to dismiss Plaintiffs’ state law claims, see Dkt. #11, #28;
                              7
                                        • MFS has not yet filed a motion for summary judgment on Plaintiffs’ state
                              8           law claims because the deadline to do so has not yet expired, see Dkt. #79
                                          (Opp. at 4:11-12 [arguing that MFS has not yet moved for summary
                              9           judgment on Plaintiffs’ state law claims]). Furthermore, there are threshold
                                          issues at stake in this Motion and MFS’s pending motion to eliminate or
                             10           strike Plaintiffs’ putative class action allegations [Dkt. #110] that should be
                                          decided before MFS files any dispositive motions against those claims; and
                             11
                                        • MFS’s corporate deponents testified as to issues related to the MCA
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                             12           exemption because Plaintiffs noticed MFS’s deposition only for topics
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                                          related to the applicability of the MCA exemption,5 and MFS was not
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                             13           obligated to have its corporate deponents testify about matters that were
                                          outside the scope of the topics on which they were produced to testify (Opp.
                             14           at 4:13-14 [claiming MFS’s corporate witnesses only testified on issues
                                          related to the MCA exemption]).
                             15
                             16         Accordingly, nothing in Plaintiffs’ Opposition demonstrates that MFS held “the
                             17 same understanding” that Plaintiffs disingenuously claim to have had regarding a stay
                             18 of discovery on their state law claims in this action.
                             19 IV.     TERMINATING SANCTIONS SHOULD BE IMPOSED
                             20         A.        PLAINTIFFS FAIL TO APPLY THE PROPER LEGAL STANDARDS
                                                  APPLICABLE TO TERMINATING SANCTIONS
                             21
                             22         Plaintiffs grossly conflate and misconstrue the legal standards governing
                             23 terminating sanctions. They erroneously assume that because terminating sanctions
                             24 are generally reserved for “extreme circumstances,” that the same elevated standard
                             25 applies to MFS’s burden of demonstrating that they engaged in a “bad faith” or
                             26 “willful” failure to comply with their discovery obligations. On that incorrect basis,
                             27 Plaintiffs argue that their disobedience was not “willful” or in “bad faith” because they
                             28         5
                                         Supplemental Declaration of Matthew C. Kane (“Supp. Kane Decl.”), ¶ 3,
                                  Exh. M.
                                                                                    5
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                              1 acted in “good faith” based on their ex post facto, unilateral assumption that the Court
                              2 stayed discovery while the parties litigated the MCA exemption issue (even though
                              3 they have identified no Order that actually referenced such a stay or otherwise
                              4 prevented them from conducting discovery). Plaintiffs are wrong.
                              5         The Court has broad authority to impose terminating sanctions against a party
                              6 who fails to comply with their discovery obligations, and in deciding whether to do
                              7 so, it considers five factors, the most important of which are prejudice to the moving
                              8 party and the availability of lesser sanctions. Wanderer v. Johnston, 910 F.2d 652,
                              9 656 (9th Cir. 1990). Because terminating sanctions are generally reserved for extreme
                             10 circumstances, they carry the added requirement that there be a finding of willful or
                             11 bad faith disobedience before they are imposed. In re Heritage Bond Litig., 223
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                             12 F.R.D. 527, 530 (C.D. Cal. 2004) (Chapman, M.J.). And as MFS correctly stated in
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                             13 its opening brief, its burden of establishing Plaintiffs “bad faith” or “willful
                             14 disobedience” is low because MFS is only required to show that Plaintiffs’
                             15 “disobedient conduct [was] not . . . outside [their] control.” Fair Housing of Marin v.
                             16 Combs, 285 F.3d 899, 905 (9th Cir. 2002); Henry v. Gill Indus., Inc., 983 F.2d 943,
                             17 948 (9th Cir. 1993). MFS has made that showing here.
                             18         B.     PLAINTIFFS HAVE COMMITTED WILLFUL, BAD FAITH AND FLAGRANT
                                               DISCOVERY VIOLATIONS FOR WHICH THEY ARE SOLELY AT FAULT
                             19
                             20         Plaintiffs do not dispute that their failure to timely serve their initial disclosures
                             21 and to appear for their properly noticed depositions was entirely within their control.
                             22 Instead, they resort to concocting an ex post facto excuse for their discovery violations
                             23 predicated on the notion of a non-existent discovery stay. But, even assuming
                             24 arguendo that it was reasonable for Plaintiffs to believe that discovery on their state
                             25 law claims was stayed while the MCA exemption issue was being adjudicated (which
                             26 it was not), this only reinforces that Plaintiffs’ discovery violations were entirely
                             27 within their control and of their own making. Indeed, it demonstrates that Plaintiffs
                             28 acted intentionally (albeit ostensibly in error). But Plaintiffs’ appeal to error rings

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                                         DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR TERMINATING SANCTIONS OR ALTERNATIVELY, EVIDENTIARY
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                              1 hollow and disingenuous in this case, not only because the Court has never issued any
                              2 Order that made any reference to a stay of discovery, but also because Plaintiffs never
                              3 sought clarification from the Court (or confirmation from MFS) as to whether
                              4 discovery or any other aspect of this case was indeed stayed or otherwise sought relief
                              5 from the Court’s Scheduling Order deadlines on that basis.
                              6        Tellingly, Plaintiffs’ discovery violations are not isolated incidents. To the
                              7 contrary, they reflect a systemic disregard for governing rules. As demonstrated in
                              8 MFS’s opening brief, in addition to shirking their basic obligations to provide timely
                              9 and compliant disclosures and appear for their noticed depositions, Plaintiffs have
                             10 repeatedly made misrepresentations to this Court, violated mandatory conferral
                             11 requirements set forth in the Local Rules and this Court’s Standing Order, and failed
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                             12 to file their Motion for Class Certification by the Court-ordered deadline to do so and
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                             13 then attempted to misrepresent that both they and MFS “thought” discovery and that
                             14 deadline as to their state law claims had been stayed, when in fact no such stay existed
                             15 and MFS never communicated any such understanding. See Opp. at 10:27-12:6; see
                             16 also, e.g., Fair Housing of Marin, 285 F.3d at 905-906 (affirming district court’s
                             17 decision to enter a default judgment based on discovery violations where defendant
                             18 “repeatedly flouted even his basic discovery violations” and rejecting arguments that
                             19 sanctions were inappropriately entered against him because he “eventually produced
                             20 the documents”).
                             21        Plaintiffs attempt to justify their disobedience with the remarkable assertion that
                             22 MFS is somehow at fault for their refusal to appear for their depositions before the
                             23 fact discovery cut-off date, asserting that MFS “cancelled [sic] its own corporate
                             24 deposition (with an objection sent by mail)” and did not accept their supposed offer to
                             25 make themselves available “to be deposed after the discovery cut-off.” Opp. at 9:21-
                             26 25 (emph. added).
                             27        First, Plaintiffs served their notice of taking MFS’s 30(b)(6) deposition on
                             28 January 8, 2025 and purported to unilaterally schedule the deposition for January 21,

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                                         DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR TERMINATING SANCTIONS OR ALTERNATIVELY, EVIDENTIARY
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                              1 2025 (the “30(b)(6) Notice”). Supp. Kane Decl., ¶ 4, Exh. N. MFS appropriately
                              2 objected on grounds that, inter alia, the 30(b)(6) Notice:
                              3         • failed to provide “reasonable written notice” as required under Fed. R. Civ.
                                          P. 30(b)(1), especially given that Plaintiffs purported to require MFS to
                              4           identify, designate, prepare, and produce one or more appropriate corporate
                                          deponent(s) on seven (7) business days’ notice and to require one or more
                              5           corporate deponent(s) to appear for an in-person deposition at Plaintiffs’
                                          counsel’s office in Costa Mesa, California on the first business day
                              6           following the Martin Luther King holiday weekend (id.; see, e.g., In re
                                          Sulfuric Acid Antitrust Litig., 231 F.R.D. 320, 327-328 (N.D. Ill. 2005)
                              7           (finding ten business days was not reasonable notice of depositions where it
                                          was obvious, or at least probable, that the schedule of deponents and counsel
                              8           would not be able to accommodate it);
                              9         • the topics for the deposition related to Plaintiffs’ putative class action
                                          claims, which by the time MFS served its objections to the 30(b)(6) Notice,
                             10           Plaintiffs had already advised MFS they did not intend to pursue such claims
                                          (see Kane Decl., Exh. F); and
                             11
                                        • MFS’s lead counsel was not available on the unilaterally noticed deposition
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                             12           date due to pre-scheduled personal travel plans.
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                             13 Supp. Kane Decl., ¶ 5, Exh. O.
                             14         That Plaintiffs elected to cancel MFS’s 30(b)(6) deposition in response to the
                             15 foregoing objections does not excuse their refusal to appear for their own depositions
                             16 noticed by MFS, particularly as to the second set of noticed depositions for which they
                             17 were indisputably available to appear before the fact discovery cut-off date because
                             18 they had confirmed their availability just days before the noticed deposition dates.
                             19 Chih-Cheng Tsao v. Cnty. of Los Angeles, 2011 WL 1532331, at *5 (C.D. Cal. Mar.
                             20 30, 2011) (Woehrle, M.J.), report and recommendation adopted, 2011 WL 1532014
                             21 (C.D. Cal. Apr. 22, 2011) (Staton, J.) (finding plaintiff’s conduct satisfied willfulness
                             22 standard for imposition of a terminating sanction where there was “no excuse” for
                             23 failure to appear when plaintiff’s availability for the noticed deposition was not
                             24 “reasonably subject to dispute”). Thus, “it certainly cannot be said that the failure to
                             25 appear was beyond [their] control.” F.T.C. v. U.S. Homeowners Relief, Inc., 2011 WL
                             26 6139676, at *3 (C.D. Cal. Oct. 21, 2011) (Walsh, M.J.) (finding defendant’s failure to
                             27 attend his depositions was willful where he “simply refused to attend”).
                             28         Second, Plaintiffs’ illusory offer to be deposed after the fact discovery-cutoff

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                              1 date was not an adequate resolution or response. As a threshold and fundamental
                              2 matter, such an offer did not change the fact of their admitted, intentional failure to
                              3 appear for their depositions, twice, without grounds for doing so. Those latest
                              4 discovery violations still stand and have real consequences both in terms of subjecting
                              5 Plaintiffs to sanctions and prejudicing MFS’s preparation of a dispositive motion and
                              6 for trial. Beyond those issues, their ostensible offer was a promise they had no power
                              7 to keep. Indeed, the decision of whether to modify Court-ordered deadlines is always
                              8 within the discretion of the District Judge, regardless of whether the parties stipulate
                              9 to a modification, and this Court’s Standing Order makes clear that such a
                             10 modification would be unlikely to be approved:
                             11                “Accordingly, any stipulations or motions to continue
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                             12                discovery deadlines shall be filed and noticed for hearing
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                             13                before Judge Kato. However, the Court is not inclined to
                             14                grant any extensions of the discovery or other case-
                             15                related deadlines. The parties are, therefore, directed to
                             16                conduct any necessary discovery as soon as possible.”
                             17 Standing Order at 5:1-9 (emph. in orig.). Thus, Plaintiffs’ ostensible offer to be
                             18 deposed after the fact discovery cut-off date—after having confirmed their availability
                             19 to appear for their depositions as noticed before the cut-off and then refusing to do
                             20 so—is wholly illusory since the parties have no authority to effectuate such a
                             21 modification of the Scheduling Order without the Court’s approval, which “the Court
                             22 is not inclined to grant.” Id.
                             23        Based on all of the foregoing, MFS has amply met its burden of demonstrating
                             24 that Plaintiffs’ refusal to appear for their noticed depositions and serve timely and
                             25 compliant disclosures was “willful,” intentional, and due to circumstances solely
                             26 within their control.
                             27
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                                         DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR TERMINATING SANCTIONS OR ALTERNATIVELY, EVIDENTIARY
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                              1         C.        THE RELEVANT FACTORS WEIGH IN FAVOR OF IMPOSING
                                                  TERMINATING SANCTIONS
                              2
                              3         Plaintiffs contend that terminating sanctions are not warranted because MFS
                              4 has shown “no prejudice and lesser sanctions are available.” Opp. at 12:1-2. In so
                              5 doing, Plaintiffs do not address – and thus concede the merits of – MFS’s argument
                              6 that the balance of factors weigh in favor of dismissal, namely, because (1) the
                              7 public’s interest in expeditious resolution of litigation will logically be advanced by
                              8 dismissing Plaintiffs’ claims; (2) the Court’s need to manage its docket also justifies
                              9 imposing terminating sanctions; and (3) the public policy factor is neutral and
                             10 negligible because it is not controlling when the other factors favor dismissal.
                                                                                                                 6


                             11 Compare Mot. at 12:21-13:11, 16:21-17:6 with Opp. at 12:1-14:21.
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                             12         Furthermore, as set forth below, MFS has been prejudiced by Plaintiffs’ failure
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                             13 to comply with their basic discovery obligations, and less drastic sanctions are not
                             14 available here:
                             15                   1.     MFS Has Been Prejudiced By Plaintiffs’ Failure To Appear
                                                         For Their Properly Noticed Depositions And Provide Timely
                             16                          And Compliant Initial Disclosures
                             17         First, Plaintiffs do not dispute that “prejudice” is found when a non-compliant
                             18 party’s actions “impair the defendant’s ability to go to trial or threaten to interfere with
                             19 the rightful decision of the case.” Adriana Int’l Corp. v. Thoeren, 913 F.2d 1406,
                             20 1412 (9th Cir. 1990) (failure to appear at a deposition constitutes an interference with
                             21 the rightful decision of the case and favors default); Wanderer v. Johnston, 910 F.2d
                             22 652, 656 (9th Cir. 1990). As explained in MFS’s opening brief, Plaintiffs’ refusal to
                             23 appear for their properly noticed depositions before the close of discovery has
                             24 significantly and unduly prejudiced MFS by “preventing [it] from preparing its case.”
                             25 In re Heritage Bond Litig., 223 F.R.D. at 530. “A party is entitled to know all of the
                             26
                             27        See, e.g., M.S. v. Cnty. of Ventura, 2017 WL 10434015, at *24 n. 20 (C.D.
                                        6
                                Cal. Mar. 7, 2017) (O’Connell, J.) (“Failure to respond to the merits of one party’s
                             28 argument constitutes a concession of that argument.”); Ramirez v. Ghilotti Bros. Inc.,
                                941 F.Supp.2d 1197, 1210 (N.D. Cal. 2013) (failure to oppose an argument is
                                concession of the issue).
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                                            DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR TERMINATING SANCTIONS OR ALTERNATIVELY, EVIDENTIARY
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                              1 facts and evidence that underlie the opposing party’s case, long before dispositive
                              2 motions.” Tumbling v. Merced Irrigation Dist., 2010 WL 11450406, at *18 (E.D. Cal.
                              3 Sept. 27, 2010) (emph. added). Indeed, “[r]equiring the parties to comply with the
                              4 Rules of Civil Procedure and with the court’s scheduling order promotes achieving
                              5 such goals by giving full disclosure to the parties, minimizing the cost and delay of
                              6 discovery and eliminating the need for unnecessary trial preparation.” Id. Plaintiffs
                              7 cannot credibly argue that MFS’s ability to defend against their remaining claims in
                              8 this case has not been severely prejudiced by their precluding it from taking their
                              9 properly noticed depositions by the discovery cut-off date.
                             10         Yet, Plaintiffs argue that MFS has not been prejudiced because they have
                             11 unilaterally declared that MFS can “still take these depositions” (see Opp. at 12:11-
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                             12 12)—even though the fact discovery deadline expired on January 24, 2025. As
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                             13 discussed above, Plaintiffs’ argument is disingenuous and nothing more than an ipse
                             14 dixit because they have no ability to unilaterally extend the fact discovery deadline
                             15 and “the Court is not inclined to grant” stipulations to extend it. Standing Order at
                             16 5:1-9. Further, as Plaintiffs know, trial is scheduled to begin on June 6, 2025, and the
                             17 deadline for hearing motions for summary judgment is April 17, 2025. By willfully
                             18 refusing to appear for their properly noticed depositions, Plaintiffs deprived MFS of
                             19 discovery that is critical to its ability to prepare a motion for summary judgment or for
                             20 trial. Therefore, terminating sanctions are entirely appropriate and should be imposed
                             21 against Plaintiffs. See, e.g., Wanderer, 910 F.2d at 656 (failure of defendant to appear
                             22 at deposition constitutes “palpable” prejudice and a “clear interference with the
                             23 plaintiffs’ ability to prove the claims and to obtain a decision in the case”).
                             24         Second, Plaintiffs fail to meet their burden of proving their untimely disclosed
                             25 witnesses or evidence was substantially justified or harmless. See Opp. at 12:15-
                             26 13:21. Here, the burden was on Plaintiffs to timely disclose their witnesses, categories
                             27 of documents, and computation of damages. Rule 26 states that “a party must, without
                             28 awaiting a discovery request,” comply with their initial disclosure obligations. Fed.

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                              1 R. Civ. P. 26(a); see also Republic of Ecuador v. Mackay, 742 F.3d 860, 865 (9th Cir.
                              2 2014) (compliance with Rule 26’s disclosure requirements is “mandatory.”). Indeed,
                              3 “[a]n adverse party should not have to guess which undisclosed witnesses may be
                              4 called to testify,” or which documents Plaintiffs may use to support their claims or
                              5 defenses. Ollier v. Sweetwater Union High School Dist., 768 F.3d 843, 862-63 (9th
                              6 Cir. 2014) (affirming district court’s decision to exclude witnesses as untimely
                              7 disclosed where defendant argued, “in essence, that it complied with Rule 26 because
                              8 Plaintiffs knew of the contested witnesses’ existence.”).
                              9         Contrary to their false assertion, Plaintiffs did not disclose witnesses related to
                             10 their state law claims in May 2024. Instead, Plaintiffs served their responses to MFS’s
                             11 first set of Interrogatories on June 5, 2024 (not in May 2024),7 in which they identified
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                             12 individuals whom they contend have “knowledge of, or information” related to their
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                             13 allegations that MFS owed them “overtime wages under the FLSA.” Supp. Kane
                             14 Decl., ¶ 2, Exh. L (emph. added). That is because, as Plaintiffs themselves have
                             15 acknowledged, MFS’s first set of Interrogatories did not ask about Plaintiffs’ state law
                             16 claims to which their falsely denominated “supplemental” disclosures relate. And, in
                             17 any event, Plaintiffs’ discovery responses do not comport with Rule 26(a)’s disclosure
                             18 obligations because they do not provide the “name and, if known, the address and
                             19 telephone number of each individual likely to have discoverable information—along
                             20 with the subjects of that information—that the disclosing party may use to support
                             21 its claims or defenses.” Fed. R. Civ. P. 26(a)(1)(A)(i) (emph. added).
                             22         Moreover, Plaintiffs proffer no explanation as to why their cell phone bills from
                             23 2023 were produced on January 21, 2025, more than one year after filing this action—
                             24 just three days before the January 24, 2025 fact discovery cut-off. See Opp. at 13:7-
                             25 8 (arguing Plaintiffs’ cell phone bills were produced “as soon as [they] had them.”);
                             26 Supp. Kane Decl., ¶ 6, Exh. P. Plaintiffs commenced this action against MFS on
                             27
                             28        7
                                         This is yet another misrepresentation by Plaintiffs to the Court regarding
                                  discovery in this action.
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                                           DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR TERMINATING SANCTIONS OR ALTERNATIVELY, EVIDENTIARY
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                              1 January 12, 2024. See Dkt. #1. Therefore, Plaintiffs must have reasonably known at
                              2 least since filing this action that their cell phone bills were relevant to and discoverable
                              3 in this action—given that they claim MFS failed to reimburse them for such expenses.
                              4         Finally, Plaintiffs admit that they failed to provide any purported computation
                              5 of damages to MFS until January 21, 2025. See Opp. at 13:13-18 (citing Dkt. #114
                              6 [Exh. B to the Declaration of Aashish Desai]).
                              7         Accordingly, Plaintiffs deprived MFS of any meaningful opportunity to explore
                              8 evidence from the identified witnesses and documents or to incorporate any such
                              9 evidence into its litigation strategy. This is precisely the type of prejudice that courts
                             10 have repeatedly found justifies the imposition of terminating sanctions.
                             11                2.     Lesser Sanctions Are Not Available In Light Of Plaintiffs’
                                                      Repeated And Willful Misrepresentations, Discovery Abuses
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                             12                       And Blatant Disregard For Applicable Rules And Court-
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                             14         “In deciding whether to impose case-dispositive sanctions, the most critical
                             15 factor is not merely delay or docket management concerns, but truth.” Conn. Gen.
                             16 Life Ins. Co. v. New Images of Beverly Hills, 482 F.3d 1091, 1097 (9th Cir. 2007).
                             17 “Dismissal is appropriate ‘where a pattern of deception and discovery abuse made it
                             18 impossible’ for the district court to conduct a trial ‘with any reasonable assurance that
                             19 the truth would be available.”’ Valley Eng’rs Inc. v. Electric Eng’g Co., 158 F.3d 1051
                             20 (9th Cir. 1988) (int. cit. omitted). A case cannot proceed on the merits if one side is
                             21 willing to disassemble and deceive opposing counsel and the Court. See id. at 1058
                             22 (“There is no point to a lawsuit, if it merely applies the law to lies. True facts must be
                             23 the foundation for any just result.”).
                             24         Lesser sanctions would not be adequate here because Plaintiffs have engaged
                             25 in repeated and willful discovery violations, and then attempted to justify such abuses
                             26 by misrepresenting key facts to the Court and otherwise improperly attempting to shift
                             27 the blame for their misconduct to MFS.                Anheuser-Busch v. Natural Beverage
                             28 Distribs., 69 F.3d 337, 348 (9th Cir. 1995) (when “evaluating the propriety of

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                                         DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR TERMINATING SANCTIONS OR ALTERNATIVELY, EVIDENTIARY
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                              1 dismissal, [the court must] consider all incidents of [the disobedient party’s] alleged
                              2 misconduct”); Chrysler Corp. v. Carey, 186 F.3d 1016, 1022 (8th Cir. 1999)
                              3 (acknowledging the court’s broad discretion to issue sanctions for violations of
                              4 discovery orders and holding that courts need not impose the “least onerous”
                              5 sanction). Plaintiffs’ continued insistence on repeating falsehoods and their persistent
                              6 refusal to be accountable for their actions and tactics makes a disposition on the merits,
                              7 based on true facts, impossible at this juncture. In short, less drastic sanctions will not
                              8 cure the severe prejudice that Plaintiffs have caused MFS to incur.
                              9 V.      ALTERNATIVELY, SHOULD THE COURT NOT IMPOSE
                                        TERMINATING SANCTIONS, THEN EVIDENTIARY SANCTIONS
                             10         SHOULD BE IMPOSED
                             11         Although it is manifest that terminating sanctions are warranted here, at a
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                             12 minimum, evidentiary sanctions should be imposed. As discussed above with respect
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                             13 to the imposition of terminating sanctions, MFS has been unduly prejudiced by
                             14 Plaintiffs’ flagrant disregard for their discovery obligations. Tellingly, Plaintiffs fail
                             15 to address the extensive authorities cited by MFS which hold that evidentiary
                             16 sanctions are warranted here (see Mot. at 18:8-28, 19:18-20:11 (citing cases)).
                             17 VI.     CONCLUSION
                             18         For all of the foregoing reasons, MFS respectfully requests that the Court grant
                             19 this Motion and impose terminating sanctions against Plaintiffs by ordering their
                             20 remaining individual claims dismissed with prejudice. Alternatively, at a minimum,
                             21 should the Court not impose such terminating sanctions, then evidentiary sanctions
                             22 should be imposed against Plaintiffs as requested.
                             23
                             24 Dated: February 20, 2025               BAKER & HOSTETLER LLP
                             25                                                  /s/ Matthew C. Kane
                                                                       By:
                             26                                                       Matthew C. Kane
                                                                                      Sylvia J. Kim
                             27                                                       Amy E. Beverlin
                                                                                      Kerri H. Sakaue
                             28                                                  Attorneys for Defendant
                                                                                 McLANE FOODSERVICE, INC.
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                                         DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR TERMINATING SANCTIONS OR ALTERNATIVELY, EVIDENTIARY
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                              1                                      CERTIFICATION
                              2        The undersigned, counsel of record for Defendant, hereby certifies that this
                              3 brief contains 4,882 words, which complies with the word limit of L.R. 11-6.1.
                              4
                              5                                                       /s/ Matthew C. Kane
                                                                                       Matthew C. Kane
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                                        DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR TERMINATING SANCTIONS OR ALTERNATIVELY, EVIDENTIARY
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                              1             SUPPLEMENTAL DECLARATION OF MATTHEW C. KANE
                              2        I, MATTHEW C. KANE, declare as follows:
                              3        1.      I am an attorney duly admitted to practice before this Court. I am a
                              4 Partner with Baker & Hostetler LLP, attorneys of record for Defendant McLane
                              5 Foodservice, Inc. (“MFS”). I make this supplemental declaration in further support
                              6 of MFS’s Motion for Terminating Sanctions, or Alternatively, Evidentiary Sanctions,
                              7 Against Plaintiffs For Failure to Comply with Discovery Obligations (the “Motion”).
                              8 I have personal knowledge of all that is set forth herein and, if called upon to testify,
                              9 I could and would do so competently.
                             10        2.      On June 5, 2024, Plaintiffs served responses to MFS’s first set of
                             11 Interrogatories, in which they identified individuals whom they contend have
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                             12 “knowledge of, or information” related to their allegations that MFS owed them
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                             13 “overtime wages under the FLSA.” (Emph. added). True and correct copies of
                             14 Plaintiffs’ interrogatory responses are attached hereto as Exhibit L.
                             15        3.      On July 16, 2024, Plaintiffs issued a deposition notice to MFS pursuant
                             16 to Fed. R. Civ. P. 30(b)(6) that noticed MFS’s deposition for July 22, 2024, a true and
                             17 correct copy of which is attached hereto as Exhibit M. After being advised that there
                             18 would be three deponents testifying for MFS and the dates on which they were
                             19 available for their depositions, Plaintiffs issued three amended deposition notices on
                             20 August 1, 2024. The amended deposition notices designated the same five “matters”
                             21 as Plaintiff’s original Rule 30(b)(6) deposition notice.
                             22        4.      On January 8, 2025, Plaintiffs served a deposition notice to MFS
                             23 pursuant to Fed. R. Civ. P. 30(b)(6), purporting to notice MFS’s deposition on patently
                             24 objectionable topics related to their putative class action claims for January 21, 2025
                             25 (the “30(b)(6) Notice”). A true and correct copy of the 30(b)(6) Notice is attached
                             26 hereto as Exhibit N.
                             27        5.      On January 16, 2025, MFS appropriately objected to the 30(b)(6) Notice
                             28 on grounds that, inter alia, the 30(b)(6) Notice:

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                              1        • failed to provide “reasonable written notice” as required under Fed. R. Civ.
                                         P. 30(b)(1), especially given that Plaintiffs purported to require MFS to
                              2          identify, designate, prepare, and produce one or more appropriate corporate
                                         deponent(s) on seven (7) business days’ notice and to require one or more
                              3          corporate deponent(s) to appear for an in-person deposition at Plaintiffs’
                                         counsel’s office in Costa Mesa, California on the first business day
                              4          following the Martin Luther King holiday weekend (id.; see, e.g., In re
                                         Sulfuric Acid Antitrust Litig., 231 F.R.D. 320, 327-328 (N.D. Ill. 2005)
                              5          (finding ten business days was not reasonable notice of depositions where it
                                         was obvious, or at least probable, that the schedule of deponents and counsel
                              6          would not be able to accommodate it);
                              7        • the topics for the deposition related to Plaintiffs’ putative class action
                                         claims, which by the time MFS served its objections to the 30(b)(6) Notice,
                              8          Plaintiffs had already advised MFS they did not intend to pursue such claims
                                         (see Kane Decl., Exh. F); and
                              9
                                       • MFS’s lead counsel was not available on the unilaterally noticed deposition
                             10          date due to pre-scheduled personal travel plans.
                             11 A true and correct copy of MFS’s objections to the 30(b)(6) Notice are attached hereto
B AKER & H OSTE TLER LLP




                             12 as Exhibit O.
   A TTORNEYS AT L AW
      L OS A NGELE S




                             13        6.      On January 21, 2025, Plaintiffs produced copies of their cell phone bills
                             14 to MFS from 2023, exemplars of which are attached hereto as Exhibit P.
                             15
                             16        I declare under penalty of perjury under the laws of the United States of
                             17 America that the foregoing is true and correct.
                             18        Executed February 20, 2025, at Los Angeles, California.
                             19
                                                                       /s/ Matthew C. Kane
                             20
                                                                      MATTHEW C. KANE
                             21
                             22
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                                                                                17
                                         DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR TERMINATING SANCTIONS OR ALTERNATIVELY, EVIDENTIARY
                                                         SANCTIONS, AGAINST PLAINTIFFS FOR FAILURE TO COMPLY WITH DISCOVERY OBLIGATIONS
                                                                       EXHIBIT L
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                                         #:3913


   1   DESAI LAW FIRM, P.C.
       Aashish Y. Desai, Esq. (SBN 187394)
   2   Adrianne De Castro, Esq. (SBN 238930)
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       aashish@desai-law.com
   5   adrianne@desai-law.com
   6   Attorneys for Plaintiffs
   7
                       IN THE UNITED STATES DISTRICT COURT
   8
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9
  10   JORDAN OROZCO MADERO and                       Case No. 5:24-cv-00073-KK-DTB
       ESTEBAN OROSCO on behalf of
  11   themselves and all others similarly            Hon. Kenly Kiya Kato
       situated,
  12
                                                      RESPONSE OF ESTEBAN OROSCO
                    Plaintiffs,
  13                                                  TO DEFENDANT’S
  14   v.                                             INTERROGATORIES, SET
                                                      NUMBER ONE
  15   McLANE FOODSERVICE, INC., a
       Texas Corporation, and DOES 1-10,
  16   inclusive,
  17
                    Defendants.
  18

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   1   PROPOUNDING PARTY:                  DEFENDANT McLANE FOODSERVICE, INC.
   2   RESPONDING PARTY:                   PLAINTIFF ESTEBAN OROSCO
   3   SET NO.:                            ONE (1)
   4

   5                               INTRODUCTORY STATEMENT
   6          1.        These responses are made solely for the purpose of this action. Each
   7   response is subject to all objections as to competence, relevance, materiality,
   8   propriety, admissibility and any or all other objections and grounds that would
   9   require the exclusion of any statement herein, if any admission was asked for, or in
  10   any statement contained herein, was made by a witness present and testifying in
  11   court, all of which objections and grounds are reserved and may be interposed at
  12   time of trial.
  13          2.        This responding party is responding to all interrogatories to the extent
  14   that the information asked for is known.             However, this responding party’s
  15   discovery and investigation in preparation for trial in this matter has not been
  16   completed as of the date of these responses to interrogatories and, therefore, this
  17   responding party does not propose to state herein anything more than information
  18   presently known and discovered.
  19          3.        This responding party reserves the right to continue discovery and
  20   investigation in this matter for facts, witnesses and supporting data that may recall
  21   information, which if the responding party had presently within her knowledge,
  22   would be included in these responses.             Consequently, to the extent that the
  23   interrogatories herein ask for “all facts” or the name of “all persons” or the identity
  24   of “all documents”, etc. they are responded to fully insofar as the information is
  25   presently available to the responding party; and this responding party is not
  26   precluded from presenting at trial information discovered after the date of these
  27   responses to interrogatories.
  28          4.        This preliminary statement is incorporated into each of the responses

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   1   set forth below.
   2         5.      Plaintiff objects to Defendant’s interrogatories on the ground that
   3   discovery is still ongoing. The responses set forth below are, therefore, based
   4   solely upon the facts and information presently known and available to Plaintiff.
   5   Discovery, investigation, research and analysis are ongoing and may disclose
   6   additional facts, establish entirely new factual or legal contentions or possibly lead
   7   to additions, variations and changes to this response.          Accordingly, without
   8   obligating himself to do so, Plaintiff hereby reserves the right to change or
   9   supplement this response as additional documents, facts and/or contentions are
  10   discovered, revealed, recalled or other ascertained.     Moreover, Plaintiff hereby
  11   reserves the right to refer to conduct discovery with reference to, or to offer into
  12   evidence at trial, any and all facts or other information related to this action
  13   irrespective of whether such information is disclosed herein.
  14         6.      Plaintiff objects to Defendant’s interrogatories to the extent they call
  15   for disclosure of information or documents that are privileged or protected by the
  16   attorney-client privilege, the work product doctrine, the right of privacy recognized
  17   under Article I, Section I of the California Constitution, or any other Constitutional
  18   statutory or common law privilege or protection. In addition, Plaintiff objects to
  19   Defendant’s interrogatories to the extent that they seek information that reflects or
  20   discloses trade secrets or other confidential or proprietary information. Plaintiff
  21   will not necessarily repeat this objection in each of the individual responses below.
  22   Nonetheless, Plaintiff does not intend to waive his right to assert these or other
  23   applicable privileges, and intend that all of his responses be subject to these
  24   objections.
  25         7.      By these responses, Plaintiff makes no admission concerning the
  26   relevance or admissibility of any of the information contained herein or any of the
  27   subjects that are the subject of Defendant’s interrogatories.        Plaintiff hereby
  28   reserves the right to make all pertinent evidentiary objections with regard to such

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   1   matters at trial or at any other stage of the proceedings.
   2         8.      Plaintiff objects generally to Defendant’s interrogatories to the extent
   3   that they seek information not relevant to the subject matter of this action or
   4   reasonably calculated to lead to the discovery of admissible evidence.
   5         9.      Plaintiff specifically reserves his right to produce documents in lieu of
   6   answers, as provided by the Federal Rules of Civil Procedure.
   7

   8                           INTERROGATORY RESPONSES
   9   SPECIAL INTERROGATORY NO. 1:
  10         IDENTIFY each and every PERSON whom YOU contend has knowledge of,
  11   or information RELATING TO, the facts in support of YOUR allegations in YOUR
  12   COMPLAINT that DEFENDANT owes YOU overtime wages under the FLSA,
  13   including the knowledge which YOU believe each such PERSON has about that
  14   subject.
  15   RESPONSE TO SPECIAL INTERROGATORY NO. 1:
  16         Plaintiff objects to this interrogatory on the grounds that it is overbroad,
  17   burdensome and oppressive. Additionally, Plaintiff objects to this interrogatory on
  18   the grounds that the requested information is equally available to the Defendants.
  19         Without waiving and subject to the general and continuing objections set
  20   forth above and the specific response and objections herein, and after conducting a
  21   diligent search and making a reasonable inquiry, Plaintiff responds as follows:
  22         Plaintiffs believe the following individuals have knowledge about his claims:
  23         -    Israel Lopez Medina;
             -    Donald Lyon;
  24
             -    Jose Rea;
  25         -    Ibraham LKU;
             -    Marcello Santos;
  26
             -    Cesar Orosco;
  27         -    Edgar Banda;
  28
             -    Javier Garcia;
             -    Juan Ortiz;
                                                  4
                                                                         EXHIBIT L
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   1         -   Joe Lopez;
   2         -   Jason Hampton;
             -   Alexandra LKU, manager at Chik-Fil-A in Riverside;
   3         -   Justin LKU, employee at Chik-Fil-A in La Mirada;
   4         -   Joe LKU, manager at Buffalo Wild Wings in Buena Park;
             -   Sarah LKU, manager at Chick-fil-A;
   5         -   Other drivers I worked with;
   6         -   Other McLane Managers; and
             -   Purchasing Agent at McLane.
   7
             Discovery and investigation are continuing.
   8

   9
       SPECIAL INTERROGATORY NO. 2:
  10
             IDENTIFY each and every COMMUNICATION that YOU have had with
  11
       any other PERSON, other than YOUR attorneys, regarding YOUR COMPLAINT
  12
       or the facts underlying the allegations in YOUR COMPLAINT that DEFENDANT
  13
       owes YOU overtime wages under the FLSA.
  14
       RESPONSE TO SPECIAL INTERROGATORY NO. 2:
  15
             Plaintiff objects to this interrogatory on the grounds that it is overbroad,
  16
       burdensome and oppressive.       Without waiving and subject to the general and
  17
       continuing objections set forth above and the specific response and objections
  18
       herein, and after conducting a diligent search and making a reasonable inquiry,
  19
       Plaintiff responds as follows:
  20
             Aside from his attorneys, and communications within the presence of his
  21
       attorneys, Plaintiff has not spoken with any other person about this lawsuit.
  22
             Discovery and investigation are continuing.
  23

  24
       SPECIAL INTERROGATORY NO. 3:
  25
             For each of YOUR responses to DEFENDANT's Requests for Admission,
  26
       Set One, served concurrently with these interrogatories that is not an unqualified
  27
       admission, state all facts that support, refute or otherwise RELATE TO each such
  28


                                                 5
                                                                      EXHIBIT L
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   1   response.
   2   RESPONSE TO SPECIAL INTERROGATORY NO. 3:
   3         Plaintiff objects to this interrogatory on the grounds that it is overbroad,
   4   burdensome and oppressive.        Without waiving and subject to the general and
   5   continuing objections set forth above and the specific response and objections
   6   herein, and after conducting a diligent search and making a reasonable inquiry,
   7   Plaintiff responds as follows: Plaintiffs incorporate all the facts alleged in their First
   8   Amended Complaint. Furthermore, Plaintiffs allege they did not engage in
   9   interstate commerce under the Motor Carrier Act because they transported goods
  10   within the same state. At the time these goods were shipped, McLane did not have a
  11   fixed or persisting intent other than to store the goods until their McLane’s in-state
  12   clients ordered them from the distribution centers located within the same state.
  13   Plaintiffs allege there was “no fixed or persisting intent” because at the time of
  14   shipping the goods from out of state, 1) there was no existing order from McLane’s
  15   clients being filled for a specific quantity to be shipped outside the storage terminal,
  16   2) McLane’s storage facility is also the distribution point from which products are
  17   sold or allocated; and (3) further transportation of McLane’s clients’ goods is
  18   arranged only after the sale or allocation from storage.
  19         During Plaintiffs’ employment, Plaintiffs observed that McLane’s customers
  20   (e.g. various fast-food franchisees) placed orders for their restaurants that were
  21   filled by products that were already located within McLane’s California distribution
  22   centers. While McLane’s distribution centers would receive some goods from
  23   outside the state, for example chicken from Tyson Foods, these goods came to rest
  24   at McLane’s California distribution centers to be inventoried, organized and labeled
  25   by McLane’s warehouse workers. McLane’s California customers would then place
  26   separate orders from its local stores that were ultimately fulfilled by the goods
  27   stored at McLane’s distribution centers. In other words, Plaintiffs delivered
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   1   products McLane’s distribution centers based on the separate orders placed by
   2   McLane’s customers.
   3         Plaintiffs alleged they were misclassified under the FLSA and therefore
   4   entitled to overtime pay because they worked “as local drivers,” (Compl. ¶ 20),
   5   who worked out of McLane’s “Riverside facility,” (Compl. ¶ 21) and delivered
   6   McLane’s products to McLane’s customers “within the state of California.”
   7   (Compl. 29.) Plaintiffs worked “in excess of forty (40) hours in various workweeks
   8   throughout their employment” but were “not compensated for overtime hours.”
   9   (Compl., ¶¶ 31, 32.) Plaintiffs submitted a paystub that showed that Mr. Orosco
  10   worked 106 hours between a two-week period, October 8, 2023 to October 21,
  11   2023 with zero overtime compensation. (Compl. ¶ 116.) In fact, he only got paid his
  12   hourly rate “$16/hr” for all “106 hours” for a total of only “$1,696” (16x106).
  13   (Compl. ¶ 116.) In addition, Plaintiffs submitted paystubs as exhibits to their
  14   Complaint: Mr. Orozco, working from “8/13-2023-8/26/2023” showing “49.38”
  15   hours worked for “$765.42” with zero overtime paid, and no payment for the “off
  16   the clock” work. (Compl., Exh. “B”) Of course, all hours over 40 per week should
  17   have been paid at his overtime rate of one and one-half times his “regular rate.” 29
  18   U.S.C. § 207.
  19         Plaintiffs allege they are not subject to the MCA because “there is no
  20   possibility of driving interstate or the possibility is remote.” Dole v. Circle “A”
  21   Constr., Inc., 738 F.Supp. 1313, 1322 (D. Idaho June 1, 1990). Factors to consider
  22   are: (1) the proportion of interstate to intrastate employee activity; (2) the method
  23   by which a carrier assigns the interstate activity to its employees; and (3) the overall
  24   nature of the carrier’s business. Kosin v. Fredjo’s Enterprises, Ltd., No. 88 C 5924,
  25   1989 WL 13175 (N.D. Ill. Feb. 14, 1989); 29 C.F.R. § 782.7(b)(1). See Response
  26   to RFA No. 1.
  27

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                                                                        EXHIBIT L
                                                                      EXHIBIT L
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   1   SPECIAL INTERROGATORY NO. 4:
   2         IDENTIFY all PERSONS who have knowledge of each of the facts stated in
   3   YOUR response to Interrogatory No. 3. All persons who have knowledge re RFA
   4   responses.
   5   RESPONSE TO SPECIAL INTERROGATORY NO. 4:
   6         Plaintiff objects to this interrogatory on the grounds that it is overbroad,
   7   burdensome and oppressive.       Without waiving and subject to the general and
   8   continuing objections set forth above and the specific response and objections
   9   herein, and after conducting a diligent search and making a reasonable inquiry,
  10   Plaintiff responds as follows:
  11         See Response to Interrogatory No. 1.
  12

  13   SPECIAL INTERROGATORY NO. 5:
  14         For each of YOUR responses to DEFENDANT's Requests for Admission,
  15   Set One, served concurrently with these interrogatories that is not an unqualified
  16   admission, IDENTIFY all DOCUMENTS that support, refute or otherwise
  17   RELATE TO each such response.
  18   RESPONSE TO SPECIAL INTERROGATORY NO. 5:
  19         Plaintiff objects to this interrogatory on the grounds that it is duplicative of
  20   Defendant’s other discovery requests. Additionally, Plaintiff objects to this
  21   interrogatory on the grounds that the requested information is equally available to
  22   the Defendants.
  23         Without waiving and subject to the general and continuing objections set
  24   forth above and the specific response and objections herein, and after conducting a
  25   diligent search and making a reasonable inquiry, Plaintiff responds as follows:
  26   Plaintiffs have produced all non-privileged, responsive documents in their custody
  27   and control.
  28


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                                                                      EXHIBIT L
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   2   Dated: June 5, 2024                         DESAI LAW FIRM, P.C.
   3

   4                                         By:        /s/ Aashish Y. Desai
                                                   Aashish Y. Desai
   5                                               Adrianne De Castro
   6
                                                   Attorneys for Plaintiffs

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   1                                 PROOF OF SERVICE
   2
       I, Sonia Nava, declare
   3
             I am a citizen of the United States and employed in Orange County,
   4   California. I am over the age of eighteen years and not a party to the within-entitled
   5   action; my business address is Desai Law Firm, P.C., 3200 Bristol Street, Ste. 650,
       Costa Mesa, California 92626.
   6         On June 5, 2024, I served the foregoing document(s):
   7
               PLAINTIFF  OROSCO’S     RESPONSES                TO      DEFENDANT’S
   8           INTERROGATORIES SET ONE

   9
                 By Mail: by placing the document(s) listed above in a sealed envelope
  10     [x]     with postage thereon fully prepaid , the United States mail at Costa
                 Mesa, California addressed as set forth below.
  11
                 Delivery Service: by placing the document(s) listed above in a sealed
  12     []      Delivery Service envelope and affixing a pre-paid air bill, and causing
                 the envelope to be delivered to a Delivery Service agent for next day
  13             delivery.
  14             By E-Mail or Electronic Transmission: Based on a court order or an
                 agreement of the parties to accept service by e-mail or electronic
  15     [x]     transmission, I caused the documents to be sent to the persons at the e-
                 mail address above. I did not receive, within a reasonable time after the
  16
                 transmission, any electronic message or other indication that the
                 transmission was unsuccessful
  17

  18   BAKER & HOSTETLER LLP                         BAKER & HOSTETLER LLP
  19
       Matthew C. Kane, SBN 171829                   Sylvia J. Kim, SBN 258363
       Amy E. Beverlin, SBN 284745                   Transamerica Pyramid
  20   Kerri H. Sakaue, SBN 301043                   600 Montgomery Street, Suite 3100
  21
       11601 Wilshire Boulevard, Suite 1400          San Francisco, CA 94111-2806
       Los Angeles, CA 90025-0509                    Email: sjkim@bakerlaw.com
  22   Emails: mkane@bakerlaw.com
  23
       abeverlin@bakerlaw.com
       ksakaue@bakerlaw.com
  24

  25
             Under the penalty of perjury under the laws of the United States of America
       and the State of California that the above is true and correct.
  26

  27
                                                      Sonia Nava
  28


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                                                                        EXHIBIT L
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                                         #:3923


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       aashish@desai-law.com
   5   adrianne@desai-law.com
   6   Attorneys for Plaintiffs
   7
                       IN THE UNITED STATES DISTRICT COURT
   8
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9
  10   JORDAN OROZCO MADERO and                       Case No. 5:24-cv-00073-KK-DTB
       ESTEBAN OROSCO on behalf of
  11   themselves and all others similarly            Hon. Kenly Kiya Kato
       situated,
  12

  13
                    Plaintiffs,                       RESPONSE OF JORDAN OROZCO
                                                      MADERO TO DEFENDANT’S
  14   v.
                                                      SPECIAL INTERROGATORIES, SET
  15   McLANE FOODSERVICE, INC., a                    NUMBER ONE
       Texas Corporation, and DOES 1-10,
  16   inclusive,
  17
                    Defendants.
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   1   PROPOUNDING PARTY:                  DEFENDANT McLANE FOODSERVICE, INC.
   2   RESPONDING PARTY:                   PLAINTIFF JORDAN OROZCO MADERO
   3   SET NO.:                            ONE (1)
   4

   5                               INTRODUCTORY STATEMENT
   6          1.        These responses are made solely for the purpose of this action. Each
   7   response is subject to all objections as to competence, relevance, materiality,
   8   propriety, admissibility and any or all other objections and grounds that would
   9   require the exclusion of any statement herein, if any admission was asked for, or in
  10   any statement contained herein, was made by a witness present and testifying in
  11   court, all of which objections and grounds are reserved and may be interposed at
  12   time of trial.
  13          2.        This responding party is responding to all interrogatories to the extent
  14   that the information asked for is known.             However, this responding party’s
  15   discovery and investigation in preparation for trial in this matter has not been
  16   completed as of the date of these responses to interrogatories and, therefore, this
  17   responding party does not propose to state herein anything more than information
  18   presently known and discovered.
  19          3.        This responding party reserves the right to continue discovery and
  20   investigation in this matter for facts, witnesses and supporting data that may recall
  21   information, which if the responding party had presently within her knowledge,
  22   would be included in these responses.             Consequently, to the extent that the
  23   interrogatories herein ask for “all facts” or the name of “all persons” or the identity
  24   of “all documents”, etc. they are responded to fully insofar as the information is
  25   presently available to the responding party; and this responding party is not
  26   precluded from presenting at trial information discovered after the date of these
  27   responses to interrogatories.
  28          4.        This preliminary statement is incorporated into each of the responses


                                                     2                    EXHIBIT L
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   1   set forth below.
   2         5.      Plaintiff objects to Defendant’s interrogatories on the ground that
   3   discovery is still ongoing. The responses set forth below are, therefore, based
   4   solely upon the facts and information presently known and available to Plaintiff.
   5   Discovery, investigation, research and analysis are ongoing and may disclose
   6   additional facts, establish entirely new factual or legal contentions or possibly lead
   7   to additions, variations and changes to this response.          Accordingly, without
   8   obligating himself to do so, Plaintiff hereby reserves the right to change or
   9   supplement this response as additional documents, facts and/or contentions are
  10   discovered, revealed, recalled or other ascertained.     Moreover, Plaintiff hereby
  11   reserves the right to refer to conduct discovery with reference to, or to offer into
  12   evidence at trial, any and all facts or other information related to this action
  13   irrespective of whether such information is disclosed herein.
  14         6.      Plaintiff objects to Defendant’s interrogatories to the extent they call
  15   for disclosure of information or documents that are privileged or protected by the
  16   attorney-client privilege, the work product doctrine, the right of privacy recognized
  17   under Article I, Section I of the California Constitution, or any other Constitutional
  18   statutory or common law privilege or protection. In addition, Plaintiff objects to
  19   Defendant’s interrogatories to the extent that they seek information that reflects or
  20   discloses trade secrets or other confidential or proprietary information. Plaintiff
  21   will not necessarily repeat this objection in each of the individual responses below.
  22   Nonetheless, Plaintiff does not intend to waive his right to assert these or other
  23   applicable privileges, and intend that all of his responses be subject to these
  24   objections.
  25         7.      By these responses, Plaintiff makes no admission concerning the
  26   relevance or admissibility of any of the information contained herein or any of the
  27   subjects that are the subject of Defendant’s interrogatories.        Plaintiff hereby
  28   reserves the right to make all pertinent evidentiary objections with regard to such


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   1   matters at trial or at any other stage of the proceedings.
   2         8.      Plaintiff objects generally to Defendant’s interrogatories to the extent
   3   that they seek information not relevant to the subject matter of this action or
   4   reasonably calculated to lead to the discovery of admissible evidence.
   5         9.      Plaintiff specifically reserves his right to produce documents in lieu of
   6   answers, as provided by the Federal Rules of Civil Procedure.
   7

   8                           INTERROGATORY RESPONSES
   9   SPECIAL INTERROGATORY NO. 1:
  10         IDENTIFY each and every PERSON whom YOU contend has knowledge of,
  11   or information RELATING TO, the facts in support of YOUR allegations in YOUR
  12   COMPLAINT that DEFENDANT owes YOU overtime wages under the FLSA,
  13   including the knowledge which YOU believe each such PERSON has about that
  14   subject.
  15   RESPONSE TO SPECIAL INTERROGATORY NO. 1:
  16         Plaintiff objects to this interrogatory on the grounds that it is overbroad,
  17   burdensome and oppressive. Additionally, Plaintiff objects to this interrogatory on
  18   the grounds that the requested information is equally available to the Defendants.
  19         Without waiving and subject to the general and continuing objections set
  20   forth above and the specific response and objections herein, and after conducting a
  21   diligent search and making a reasonable inquiry, Plaintiff responds as follows:
  22         Plaintiffs believe the following individuals have knowledge about his claims:
  23         -    Israel Lopez Medina;
             -    Donald Lyon;
  24
             -    Jose Rea;
  25         -    Ibraham LKU;
             -    Marcello Santos;
  26
             -    Cesar Orosco;
  27         -    Edgar Banda;
  28
             -    Javier Garcia;
             -    Juan Ortiz;

                                                  4                      EXHIBIT L
                                                                      EXHIBIT L
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                                      #:3927


   1         -     Joe Lopez;
   2         -     Jason Hampton;
             -     Alexandra LKU, manager at Chik-Fil-A in Riverside;
   3         -     Justin LKU, employee at Chik-Fil-A in La Mirada;
   4         -     Joe LKU, manager at Buffalo Wild Wings in Buena Park;
             -     Sarah LKU, manager at Chick-fil-A;
   5         -     Other drivers I worked with;
   6         -     Other McLane Managers; and
             -     Purchasing Agent at McLane.
   7
             Discovery and investigation are continuing.
   8

   9
       SPECIAL INTERROGATORY NO. 2:
  10
             IDENTIFY each and every COMMUNICATION that YOU have had with
  11
       any other PERSON, other than YOUR attorneys, regarding YOUR COMPLAINT
  12
       or the facts underlying the allegations in YOUR COMPLAINT that DEFENDANT
  13
       owes YOU overtime wages under the FLSA.
  14
       RESPONSE TO SPECIAL INTERROGATORY NO. 2:
  15
             Plaintiff objects to this interrogatory on the grounds that it is overbroad,
  16
       burdensome and oppressive.       Without waiving and subject to the general and
  17
       continuing objections set forth above and the specific response and objections
  18
       herein, and after conducting a diligent search and making a reasonable inquiry,
  19
       Plaintiff responds as follows:
  20
             Aside from his attorneys, and communications within the presence of his
  21
       attorneys, Plaintiff has not spoken with any other person about this lawsuit.
  22
             Discovery and investigation are continuing.
  23
       SPECIAL INTERROGATORY NO. 3:
  24
             For each of YOUR responses to DEFENDANT's Requests for Admission,
  25
       Set One, served concurrently with these interrogatories that is not an unqualified
  26
       admission, state all facts that support, refute or otherwise RELATE TO each such
  27
       response.
  28



                                                 5                    EXHIBIT L
                                                                         EXHIBIT L
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   1   RESPONSE TO SPECIAL INTERROGATORY NO. 3:
   2         Plaintiff objects to this interrogatory on the grounds that it is overbroad,
   3   burdensome and oppressive.        Without waiving and subject to the general and
   4   continuing objections set forth above and the specific response and objections
   5   herein, and after conducting a diligent search and making a reasonable inquiry,
   6   Plaintiff responds as follows: Plaintiffs incorporate all the facts alleged in their First
   7   Amended Complaint. Furthermore, Plaintiffs allege they did not engage in
   8   interstate commerce under the Motor Carrier Act because they transported goods
   9   within the same state. At the time these goods were shipped, McLane did not have a
  10   fixed or persisting intent other than to store the goods until their McLane’s in-state
  11   clients ordered them from the distribution centers located within the same state.
  12   Plaintiffs allege there was “no fixed or persisting intent” because at the time of
  13   shipping the goods from out of state, 1) there was no existing order from McLane’s
  14   clients being filled for a specific quantity to be shipped outside the storage terminal,
  15   2) McLane’s storage facility is also the distribution point from which products are
  16   sold or allocated; and (3) further transportation of McLane’s clients’ goods is
  17   arranged only after the sale or allocation from storage.
  18         During Plaintiffs’ employment, Plaintiffs observed that McLane’s customers
  19   (e.g. various fast-food franchisees) placed orders for their restaurants that were
  20   filled by products that were already located within McLane’s California distribution
  21   centers. While McLane’s distribution centers would receive some goods from
  22   outside the state, for example chicken from Tyson Foods, these goods came to rest
  23   at McLane’s California distribution centers to be inventoried, organized and labeled
  24   by McLane’s warehouse workers. McLane’s California customers would then place
  25   separate orders from its local stores that were ultimately fulfilled by the goods
  26   stored at McLane’s distribution centers. In other words, Plaintiffs delivered
  27   products McLane’s distribution centers based on the separate orders placed by
  28   McLane’s customers.


                                                   6                     EXHIBIT L
                                                                        EXHIBIT L
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   1         Plaintiffs alleged they were misclassified under the FLSA and therefore
   2   entitled to overtime pay because they worked “as local drivers,” (Compl. ¶ 20),
   3   who worked out of McLane’s “Riverside facility,” (Compl. ¶ 21) and delivered
   4   McLane’s products to McLane’s customers “within the state of California.”
   5   (Compl. 29.) Plaintiffs worked “in excess of forty (40) hours in various workweeks
   6   throughout their employment” but were “not compensated for overtime hours.”
   7   (Compl., ¶¶ 31, 32.) Plaintiffs submitted a paystub that showed that Mr. Orosco
   8   worked 106 hours between a two-week period, October 8, 2023 to October 21,
   9   2023 with zero overtime compensation. (Compl. ¶ 116.) In fact, he only got paid his
  10   hourly rate “$16/hr” for all “106 hours” for a total of only “$1,696” (16x106).
  11   (Compl. ¶ 116.) In addition, Plaintiffs submitted paystubs as exhibits to their
  12   Complaint: Mr. Orozco, working from “8/13-2023-8/26/2023” showing “49.38”
  13   hours worked for “$765.42” with zero overtime paid, and no payment for the “off
  14   the clock” work. (Compl., Exh. “B”) Of course, all hours over 40 per week should
  15   have been paid at his overtime rate of one and one-half times his “regular rate.” 29
  16   U.S.C. § 207.
  17         Plaintiffs allege they are not subject to the MCA because “there is no
  18   possibility of driving interstate or the possibility is remote.” Dole v. Circle “A”
  19   Constr., Inc., 738 F.Supp. 1313, 1322 (D. Idaho June 1, 1990). Factors to consider
  20   are: (1) the proportion of interstate to intrastate employee activity; (2) the method
  21   by which a carrier assigns the interstate activity to its employees; and (3) the overall
  22   nature of the carrier’s business. Kosin v. Fredjo’s Enterprises, Ltd., No. 88 C 5924,
  23   1989 WL 13175 (N.D. Ill. Feb. 14, 1989); 29 C.F.R. § 782.7(b)(1). See Response
  24   to RFA No. 1.
  25

  26

  27

  28   //


                                                  7                     EXHIBIT L
                                                                      EXHIBIT L
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                                     #:3930


   1   SPECIAL INTERROGATORY NO. 4:
   2         IDENTIFY all PERSONS who have knowledge of each of the facts stated in
   3   YOUR response to Interrogatory No. 3. All persons who have knowledge re RFA
   4   responses.
   5   RESPONSE TO SPECIAL INTERROGATORY NO. 4:
   6         Plaintiff objects to this interrogatory on the grounds that it is overbroad,
   7   burdensome and oppressive.       Without waiving and subject to the general and
   8   continuing objections set forth above and the specific response and objections
   9   herein, and after conducting a diligent search and making a reasonable inquiry,
  10   Plaintiff responds as follows:
  11         See Response to Interrogatory No. 1.
  12

  13   SPECIAL INTERROGATORY NO. 5:
  14         For each of YOUR responses to DEFENDANT's Requests for Admission,
  15   Set One, served concurrently with these interrogatories that is not an unqualified
  16   admission, IDENTIFY all DOCUMENTS that support, refute or otherwise
  17   RELATE TO each such response.
  18   RESPONSE TO SPECIAL INTERROGATORY NO. 5:
  19         Plaintiff objects to this interrogatory on the grounds that it is duplicative of
  20   Defendant’s other discovery requests. Additionally, Plaintiff objects to this
  21   interrogatory on the grounds that the requested information is equally available to
  22   the Defendants.
  23         Without waiving and subject to the general and continuing objections set
  24   forth above and the specific response and objections herein, and after conducting a
  25   diligent search and making a reasonable inquiry, Plaintiff responds as follows:
  26   Plaintiffs have produced all non-privileged, responsive documents in their custody
  27   and control.
  28



                                                 8                    EXHIBIT L
                                                                   EXHIBIT L
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                                    #:3931


   1

   2   Dated: June 5, 2024                         DESAI LAW FIRM, P.C.
   3

   4                                         By:        /s/ Aashish Y. Desai
   5                                               Aashish Y. Desai
                                                   Adrianne De Castro
   6                                               Attorneys for Plaintiffs
   7

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                                             9                     EXHIBIT L
                                                                        EXHIBIT L
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                                       #:3932


   1                                 PROOF OF SERVICE
   2
       I, Sonia Nava, declare
   3
             I am a citizen of the United States and employed in Orange County,
   4   California. I am over the age of eighteen years and not a party to the within-entitled
   5   action; my business address is Desai Law Firm, P.C., 3200 Bristol Street, Ste. 650,
       Costa Mesa, California 92626.
   6         On June 5, 2024, I served the foregoing document(s):
   7
               PLAINTIFF  MADERO’S     RESPONSES                TO      DEFENDANT’S
   8           INTERROGATORIES SET ONE

   9
                 By Mail: by placing the document(s) listed above in a sealed envelope
  10     [x]     with postage thereon fully prepaid , the United States mail at Costa
                 Mesa, California addressed as set forth below.
  11
                 Delivery Service: by placing the document(s) listed above in a sealed
  12     []      Delivery Service envelope and affixing a pre-paid air bill, and causing
                 the envelope to be delivered to a Delivery Service agent for next day
  13             delivery.
  14             By E-Mail or Electronic Transmission: Based on a court order or an
                 agreement of the parties to accept service by e-mail or electronic
  15     [x]     transmission, I caused the documents to be sent to the persons at the e-
                 mail address above. I did not receive, within a reasonable time after the
  16
                 transmission, any electronic message or other indication that the
                 transmission was unsuccessful
  17

  18   BAKER & HOSTETLER LLP                         BAKER & HOSTETLER LLP
  19
       Matthew C. Kane, SBN 171829                   Sylvia J. Kim, SBN 258363
       Amy E. Beverlin, SBN 284745                   Transamerica Pyramid
  20   Kerri H. Sakaue, SBN 301043                   600 Montgomery Street, Suite 3100
  21
       11601 Wilshire Boulevard, Suite 1400          San Francisco, CA 94111-2806
       Los Angeles, CA 90025-0509                    Email: sjkim@bakerlaw.com
  22   Emails: mkane@bakerlaw.com
  23
       abeverlin@bakerlaw.com
       ksakaue@bakerlaw.com
  24

  25
             Under the penalty of perjury under the laws of the United States of America
       and the State of California that the above is true and correct.
  26

  27
                                                      Sonia Nava
  28



                                                 1                      EXHIBIT L
                                                                     EXHIBIT M
Case 5:24-cv-00073-KK-DTB        Document 118 Filed 02/20/25     Page 43 of 84 Page ID
                                        #:3933


  1   DESAI LAW FIRM, P.C.
  2   Aashish Y. Desai, Esq. (SBN 187394)
      Adrianne De Castro, Esq. (SBN 238930)
  3   3200 Bristol Ave., Suite 650
  4   Costa Mesa, CA 92626
      Tel: (949) 614-5830
  5   Fax: (949) 271-4190
  6   aashish@desai-law.com
      adrianne@desai-law.com
  7
      Attorneys for Plaintiffs
  8

  9                   IN THE UNITED STATES DISTRICT COURT
 10                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11
      JORDAN OROZCO MADERO and                       Case No. 5:24-cv-00073-KK-DTB
 12   ESTEBAN OROSCO on behalf of
      themselves and all others similarly            Hon. Kenly Kiya Kato
 13
      situated,
 14                                                  PLAINTIFF’S NOTICE OF 30(b)(6)
                   Plaintiffs,
 15                                                  DEPOSITION
      v.
 16

 17   McLANE FOODSERVICE, INC., a                            DATE OF DEPOSITION:
      Texas Corporation, and DOES 1-10,
 18   inclusive,
                                                     Date: July 22, 2024
 19                Defendants.                       Time: 10:00 a.m.
                                                     Place: Desai Law Firm, P.C.
 20
 21

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                                                 0                   EXHIBIT M
                                                                         EXHIBIT M
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                                       #:3934


  1
               TO DEFENDANTS [DEFENDANTS], AND THEIR ATTORNEYS OF
  2
      RECORD IN THIS ACTION:
  3
               PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules
  4
      of Civil Procedure, Plaintiffs will take the deposition upon oral examination of
  5
      Defendant, through its designated agent(s).
  6
               The deposition will commence on July 22, 2024 at 10:00 a.m., at DESAI
  7
      LAW FIRM, P.C., 3200 Bristol St., Suite 650, Costa Mesa, CA 92626 or at a
  8
      mutually agreeable location. Pursuant to the provisions of Rule 30(b)(6) of the
  9
      Federal Rules of Civil Procedure, Defendant is hereby directed to designate one or
 10
      more officers, directors, managing agents, or other persons who consent to testify
 11
      and are most knowledgeable and competent to testify regarding the matters
 12
      designated below. The following shall apply to the instant depositions(s):
 13
         I.       DEFINITIONS AND INSTRUCTIONS
 14
               Except as otherwise defined or broadened in this notice of deposition, Plaintiff
 15
      incorporates by reference the definitions set forth in Fed. R. Civ. P. 26 and 30.
 16
        1. Unless otherwise indicated, the terms “Defendant” is used to include all
 17
              entities, trade names, and subsidiaries operating businesses owned by
 18
              Defendant.
 19
        2. Unless otherwise indicated, the term "Plaintiffs" refers to the named Plaintiffs
 20
              and all putative class members.
 21
        3. Unless otherwise indicated, the term “truck drivers” or “drivers” shall mean
 22
              Defendant’s drivers employed in the capacity of truck driver and any other
 23
              similarly-designated title or similarly-situated person.
 24
         II.      MATTERS DESIGNATED FOR DEPOSITION TESTIMONY
 25
               Pursuant to the provisions of Rule 30(b)(6) of the Federal Rules of Civil
 26
      Procedure, Defendant is hereby directed to designate one or more officers, directors,
 27

 28



                                                   1                     EXHIBIT M
                                                                      EXHIBIT M
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   1
       managing agents, or other persons who consent to testify and are most knowledgeable
   2
       and competent to testify regarding the following matters:
   3
         1.    As defined under the Motor Carrier Act, Defendant’s fixed and persistent
   4
               transportation intent for a practical continuity of movement in interstate
   5
               commerce concerning goods that Plaintiffs transported throughout the
   6
               duration of their employment with Defendant,
   7
         2.    As defined under the Motor Carrier Act, Defendant’s assertion that Plaintiffs
   8
               transported goods as part of a practical continuity of movement in interstate
   9
               commerce, including how Defendant tracked the goods through a
  10
               continuous movement in interstate commerce;
  11
         3.    The analysis and interpretations of Defendant’s document production in
  12
               response to Plaintiffs’ discovery, including any Summary Report (i.e., date
  13
               the goods were transported across state lines, the origin and date the goods
  14
               left their place of origin, date and time goods were transported to individual
  15
               stores) and Master Service Agreements that are expected to be produced;
  16
         4.    The method by which Defendant assigned its routes and trucks to its
  17
               California truck drivers, including Plaintiffs;
  18
         5.    If you maintain that Plaintiffs transported goods that traveled through a
  19
               continuous movement in interstate commerce based on customer
  20
               projections, forecasting reports, orders and/or anticipated customer
  21
               demands, the person most knowledgeable about those subjects.
  22
       Dated: July 16, 2024                            DESAI LAW FIRM, P.C.
  23

  24

  25                                             By:        /s/ Aashish Y. Desai
                                                       Aashish Y. Desai
  26
                                                       Adrianne De Castro
  27                                                   Attorneys for Plaintiffs
  28


                                                 2                    EXHIBIT M
                                                                      EXHIBIT M
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                                     #:3936


   1
                                     PROOF OF SERVICE
   2                               C.C.P. §§ 1013A and 2015.5
   3   STATE OF CALIFORNIA, COUNTY OF ORANGE
   4          I am employed in the county of Orange, State of California. I am over the age
       of 18 and not a party to the within action; my business address is 3200 Bristol Street,
   5
       Ste. 650, Costa Mesa, California 92626.
   6          On July 16, 2024, I served the foregoing document described as
       PLAINTIFF’S NOTICE OF TAKING FRCP 30(b)(6) DEPOSITION on the
   7
       interested parties in this action by sending a true copy thereof via e-mail to the
   8   addresses listed below:
   9   Counsel for Defendant McLane Foodservice, Inc.:
  10   BAKER & HOSTETLER LLP
       Matthew C. Kane, SBN 171829 , mkane@bakerlaw.com
  11   Amy E. Beverlin, SBN 284745, abeverlin@bakerlaw.com
       Kerri H. Sakaue, SBN 301043, ksakaue@bakerlaw.com
  12   Sylvia J. Kim, SBN 258363, sjkim@bakerlaw.com
  13

  14
       [ ] BY MAIL – I deposited such envelope in the mail at Costa Mesa, California.
       The envelope was mailed with postage thereon fully prepaid. I am readily familiar
  15   with the firm’s practice of collection and processing correspondence for mailing.
  16
       Under that practice, it would be deposited with the U.S. Postal service on that same
       day with postage thereon fully prepaid at Costa Mesa, California in the ordinary
  17   course of business. I am aware that on motion of the party served, service is
  18   presumed invalid if postal cancellation date or postage meter date is more than one
       day after date of deposit for mailing in affidavit.
  19

  20   [ X ] BY E-MAIL OR ELECTRONIC TRANSMISSION – Based on a court
       order or an agreement of the parties to accept service by e-mail or electronic
  21   transmission, I caused the documents to be sent to the persons at the e-mail address
  22   above. I did not receive, within a reasonable time after the transmission, any
       electronic message or other indication that the transmission was unsuccessful.
  23

  24          I declare under penalty of perjury under the laws of the State of California
       that the above is true and correct.
  25

  26                                                 /s/ Adrianne De Castro
                                                     ADRIANNE DE CASTRO
  27

  28


                                                 3                    EXHIBIT M
                                                                        EXHIBIT N
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                                         #:3937


   1   DESAI LAW FIRM, P.C.
   2   Aashish Y. Desai, Esq. (SBN 187394)
       Adrianne De Castro, Esq. (SBN 238930)
   3   3200 Bristol Ave., Suite 650
   4   Costa Mesa, CA 92626
       Tel: (949) 614-5830
   5   Fax: (949) 271-4190
   6   aashish@desai-law.com
       adrianne@desai-law.com
   7
       Attorneys for Plaintiffs
   8

   9                   IN THE UNITED STATES DISTRICT COURT
  10                FOR THE CENTRAL DISTRICT OF CALIFORNIA
  11
       JORDAN OROZCO MADERO and                       Case No. 5:24-cv-00073-KK-DTB
  12   ESTEBAN OROSCO on behalf of
       themselves and all others similarly            Hon. Kenly Kiya Kato
  13
       situated,
  14                                                  PLAINTIFFS’ NOTICE OF TAKING
                    Plaintiffs,
  15                                                  FED. R CIV. P. 30(b)(6) DEPOSITION
       v.
  16

  17   McLANE FOODSERVICE, INC., a                             DATE OF DEPOSITION:
       Texas Corporation, and DOES 1-10,
  18   inclusive,
                                                      Date: January 21, 2025
  19                Defendants.                       Time: 10:00 a.m. (PT)
  20                                                  Place: Desai Law Firm, P.C.
  21
                                                             3200 Bristol Street Ste. 650
                                                             Costa Mesa, CA 92626
  22

  23

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                                                  0                     EXHIBIT N
                                                                          EXHIBIT N
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                                        #:3938


   1
       TO DEFENDANTS [DEFENDANTS], AND THEIR ATTORNEYS OF RECORD
   2
       IN THIS ACTION:
   3
                PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules
   4
       of Civil Procedure, Plaintiffs will take the deposition upon oral examination of
   5
       Defendant, through its designated agent(s).
   6
                The deposition will commence on January 21, 2025, at 10:00 a.m., at
   7
       DESAI LAW FIRM, P.C., 3200 Bristol St., Suite 650, Costa Mesa, CA 92626.
   8
       Pursuant to the provisions of Rule 30(b)(6) of the Federal Rules of Civil Procedure,
   9
       Defendant is hereby directed to designate one or more officers, directors, managing
  10
       agents, or other persons who consent to testify and are most knowledgeable and
  11
       competent to testify regarding the matters designated below. The following shall
  12
       apply to the instant depositions(s):
  13
          I.       DEFINITIONS AND INSTRUCTIONS
  14
                Except as otherwise defined or broadened in this notice of deposition, Plaintiff
  15
       incorporates by reference the definitions set forth in Fed. R. Civ. P. 26 and 30.
  16
         1. Unless otherwise indicated, the terms “Defendant” is used to include all
  17
               entities, trade names, and subsidiaries operating businesses owned by
  18
               Defendant.
  19
         2. Unless otherwise indicated, the term “Plaintiffs” refers to the named Plaintiffs
  20
               and all putative class members.
  21
         3. Unless otherwise indicated, the term “truck drivers” or “drivers” shall mean
  22
               Defendant’s drivers employed in the capacity of truck driver and any other
  23
               similarly-designated title or similarly-situated person.
  24
          II.      MATTERS DESIGNATED FOR DEPOSITION TESTIMONY
  25
                Pursuant to the provisions of Rule 30(b)(6) of the Federal Rules of Civil
  26
       Procedure, Defendant is hereby directed to designate one or more officers, directors,
  27

  28



                                                    1                     EXHIBIT N
                                                                      EXHIBIT N
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   1
       managing agents, or other persons who consent to testify and are most knowledgeable
   2
       and competent to testify regarding the following matters:
   3

   4
             1.    Defendant’s practices, policies, procedures, guidelines, and rules
   5
                   regarding its truck drivers’ use of their personal cell phones and any
   6
                   reimbursement for such use, including but not limited to the creation,
   7
                   implementation, and enforcement of such practices, policies,
   8
                   procedures, guidelines, and rules;
   9
             2.    Defendant’s compensation practices, policies, procedures, guidelines,
  10
                   and rules with regard to Defendant’s truck drivers, including but not
  11
                   limited to the creation, implementation, and enforcement of such
  12
                   practices, policies, procedures, guidelines, and rules;
  13
             3.    Defendant’s documentation of and record-keeping policies with respect
  14
                   to its drivers’ compensation during the liability period;
  15
             4.    Defendant’s practices, policies, procedures, guidelines, and rules with
  16
                   regard to Defendant’s truck drivers’ paystubs during the liability period;
  17
             5.    The factual basis supporting any and all affirmative defenses raised in
  18
                   Defendant’s Answer to the First Amended Complaint in this matter.
  19

  20
       Dated: January 8, 2025                          DESAI LAW FIRM, P.C.
  21

  22
                                                 By:        /s/ Aashish Y. Desai
  23
                                                       Aashish Y. Desai
  24                                                   Adrianne De Castro
                                                       Attorneys for Plaintiffs
  25

  26

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                                                2                     EXHIBIT N
                                                                       EXHIBIT N
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                                      #:3940


   1
                                     PROOF OF SERVICE
   2                               C.C.P. §§ 1013A and 2015.5
   3   STATE OF CALIFORNIA, COUNTY OF ORANGE
   4          I am employed in the county of Orange, State of California. I am over the age
       of 18 and not a party to the within action; my business address is 3200 Bristol Street,
   5
       Ste. 650, Costa Mesa, California 92626.
   6          On January 8, 2025, I served the foregoing document described as
       PLAINTIFFS’ NOTICE OF TAKING FRCP 30(b)(6) DEPOSITION on the
   7
       interested parties in this action by sending a true copy thereof via e-mail to the
   8   addresses listed below:
   9   Counsel for Defendant McLane Foodservice, Inc.:
  10   BAKER & HOSTETLER LLP
       Matthew C. Kane, SBN 171829 , mkane@bakerlaw.com
  11   Amy E. Beverlin, SBN 284745, abeverlin@bakerlaw.com
       Kerri H. Sakaue, SBN 301043, ksakaue@bakerlaw.com
  12   Sylvia J. Kim, SBN 258363, sjkim@bakerlaw.com
  13   [ ] BY MAIL – I deposited such envelope in the mail at Costa Mesa, California.
  14
       The envelope was mailed with postage thereon fully prepaid. I am readily familiar
       with the firm’s practice of collection and processing correspondence for mailing.
  15   Under that practice, it would be deposited with the U.S. Postal service on that same
  16
       day with postage thereon fully prepaid at Costa Mesa, California in the ordinary
       course of business. I am aware that on motion of the party served, service is
  17   presumed invalid if postal cancellation date or postage meter date is more than one
  18
       day after date of deposit for mailing in affidavit.

  19   [ X ] BY E-MAIL OR ELECTRONIC TRANSMISSION – Based on a court
  20   order or an agreement of the parties to accept service by e-mail or electronic
       transmission, I caused the documents to be sent to the persons at the e-mail address
  21   above. I did not receive, within a reasonable time after the transmission, any
  22   electronic message or other indication that the transmission was unsuccessful.

  23         I declare under penalty of perjury under the laws of the State of California that
  24   the above is true and correct.

  25
                                                     /s/ Sonia Nava
  26                                                 SONIA NAVA

  27

  28


                                                 3                     EXHIBIT N
                                                                                                           EXHIBIT O
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                              1 BAKER & HOSTETLER LLP                               BAKER & HOSTETLER LLP
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                                          abeverlin@bakerlaw.com
                              6           ksakaue@bakerlaw.com
                              7 Attorneys for Defendant
                                McLANE FOODSERVICE, INC.
                              8
                              9                        UNITED STATES DISTRICT COURT
                             10                       CENTRAL DISTRICT OF CALIFORNIA
                             11 JORDAN OROZCO MADERO and                          CASE NO. 5:24-cv-00073-KK-DTB
                                ESTEBAN OROSCO on behalf of
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                             12 themselves and all others similarly               DEFENDANT’S OBJECTIONS TO
   A TTORNEYS AT L A W




                                situated,                                         PLAINTIFFS’ NOTICE OF TAKING
      L OS A NGELES




                             13                                                   FED. R. CIV. P. 30(b)(6)
                                            Plaintiffs,                           DEPOSITION
                             14
                                       v.
                             15                                                   Date: January 21, 2025
                                McLANE FOODSERVICE, INC., a                       Time: 10:00 a.m. (PT)
                             16 Texas Corporation, and DOES 1-10,                 Place: Desai Law Firm, P.C.
                                inclusive,                                               3200 Bristol Street, Ste. 650
                             17                                                          Costa Mesa, CA 92626
                                            Defendants.
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                                                                                                           EXHIBIT O
                                                  DEFENDANT’S OBJECTIONS TO PLAINTIFFS’ NOTICE OF TAKING FED. R. CIV. P. 30(b)(6) DEPOSITION
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                              1        Defendant McLANE FOODSERVICE, INC. (“Defendant”) hereby objects to
                              2 Plaintiffs JORDAN OROZCO MADERO and ESTEBAN OROSCO’s (collectively,
                              3 “Plaintiffs”) Notice of Taking Fed. R. Civ. P. 30(b)(6) (the “Notice”), as follows:
                              4                           OBJECTIONS TO THE NOTICE
                              5        1.     Defendant objects to the scheduling of the deposition for January 21,
                              6 2025, without any attempt by Plaintiffs to confer with Defendant’s counsel in advance
                              7 to select a mutually agreeable date or location prior to noticing the deposition,
                              8 especially given that the deponent(s) may be located out-of-state. Plaintiffs’ Notice,
                              9 served on the afternoon of July 8, 2025, when the Pacific Palisades wildfire was
                             10 raging, without any effort to confer with Defendant’s counsel and without any
                             11 consideration for Defendant’s or the ostensible deponents’ schedules or locations, is
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                             12 burdensome, oppressive, annoying, inconvenient, and unprofessional. In any event,
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                             13 neither the ostensible deponent(s) nor Defendant’s lead counsel, who left for pre-
                             14 scheduled personal travel from January 10, 2025 to January 20, 2025, are available on
                             15 the unilaterally noticed date, and Defendant will not be appearing on January 21,
                             16 2024. However, Defendant is willing to meet and confer with Plaintiffs about the
                             17 timing, scope, and topics for the deposition(s).
                             18        2.     Defendant objects to the Notice in its entirety, and to each matter
                             19 designated for deposition testimony included therein, on the grounds that it does not
                             20 provide “reasonable written notice” as required under Fed. R. Civ. P. 30(b)(1),
                             21 especially given that Plaintiffs purport to require Defendant to identify, designate,
                             22 prepare, and produce one or more appropriate corporate deponent(s) on seven (7)
                             23 business days’ notice three days before the discovery cut-off and to require one or
                             24 more appropriate corporate deponent(s) to appear for deposition at Plaintiffs’
                             25 counsel’s office in Costa Mesa, California on the first business day following the long
                             26 Martin Luther King holiday weekend. See, e.g., In re Sulfuric Acid Antitrust Litig.,
                             27 231 F.R.D. 320, 327-328 (N.D. Ill. 2005) (finding ten business days was not
                             28 reasonable notice of depositions where it was obvious, or at least probable, that the

                                                                                  1                          EXHIBIT O
                                                    DEFENDANT’S OBJECTIONS TO PLAINTIFFS’ NOTICE OF TAKING FED. R. CIV. P. 30(b)(6) DEPOSITION
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                             1 schedule of deponents and counsel would be unable to accommodate). This is
                             2 particularly so given that on January 6, 2025, two days before serving the Notice,
                             3 Plaintiffs filed a Request for Dismissal of their remaining state law claims in this
                             4 action (the “Dismissal Request”) [Dkt. #106], leading Defendant to understand that
                             5 Plaintiffs did not intend to proceed with this case any further, including the deposition
                             6 identified in the Notice served two days later, and that there was no need to identify,
                             7 schedule, prepare and produce any deponent(s) in connection with the Notice. Indeed,
                             8 even the day before the Notice was served, Plaintiffs filed a Reply in further support
                             9 of their Dismissal Request which reiterated their intent to not proceed with this case
                            10 any further, which would include the deposition identified in the Notice served the
                            11 next day.
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                            12        3.     Defendant objects to the Notice in its entirety, and to each matter
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                            13 designated for deposition testimony included therein, because they seek to impose on
                            14 Defendant a requirement or obligation to produce for deposition its “most
                            15 knowledgeable” persons. The Federal Rules of Civil Procedure do not “require a
                            16 corporate entity to produce its person most knowledgeable about the matters
                            17 designated. Rather, it need only produce a person ‘with knowledge whose testimony
                            18 will be binding on the party.’” Alsabur v. Autozone, Inc., 2014 WL 2772486, at *2
                            19 (N.D. Cal. June 18, 2014) (quoting Rodriguez v. Pataki, 293 F.Supp.2d 305, 311
                            20 (S.D.N.Y.2003)); see also Fed. R. Civ. P. 30(b)(6) (“The persons designated must
                            21 testify about information known or reasonably available to the organization.”); Cal.
                            22 Prac. Guide: Fed. Civ. P. before Trial § 11:1414 (The Rutter Group 2016) (“The
                            23 person(s) so designated must be able to testify fully as to the matters designated,” but
                            24 “[a] party need not produce the person most knowledgeable about the matters
                            25 designated.” (citations omitted)).
                            26        4.     Defendant objects to the Notice in its entirety, and to each matter
                            27 designated for deposition testimony included therein, to the extent that they seek to
                            28 impose discovery obligations on Defendant and/or the deponent(s) that are broader

                                                                                 2                          EXHIBIT O
                                                   DEFENDANT’S OBJECTIONS TO PLAINTIFFS’ NOTICE OF TAKING FED. R. CIV. P. 30(b)(6) DEPOSITION
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                             1 than, or inconsistent with, the Federal Rules of Civil Procedure and the applicable
                             2 Local Rules.
                             3         5.     Defendant objects to the Notice in its entirety, and to each matter
                             4 designated for deposition testimony included therein, to the extent that they call for
                             5 the disclosure of information protected by the attorney-client privilege and/or attorney
                             6 work product doctrine, all privileges set forth in the Federal Rules of Evidence, trade
                             7 secret, and/or any other applicable statutory, common law, or constitutional privileges.
                             8         6.     Defendant objects to the Notice in its entirety, and to each matter
                             9 designated for deposition testimony included therein, to the extent they seek
                            10 information that is private, personal, confidential, sensitive, or proprietary or that
                            11 constitutes a trade secret. If Defendant provides such information, it will do so only
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                            12 subject to the entry of an appropriate protective order restricting the use and disclosure
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                            13 of such information.
                            14         7.     Defendant objects to the Notice in its entirety, and to each matter
                            15 designated for deposition testimony included therein, to the extent that they call for
                            16 the disclosure of information the release of which would be a violation of any right of
                            17 privacy under the United States Constitution, Article I, Section 1 of the California
                            18 Constitution, or any other constitutional, statutory, or common law right of privacy.
                            19 There is no reason to compel the disclosure of such irrelevant and immaterial
                            20 information when weighed against the interests of Defendant and other parties, and
                            21 Plaintiffs have not made any showing establishing a right to obtain such information.
                            22         8.     Defendant objects to the Notice in its entirety, and to each matter
                            23 designated for deposition testimony included therein, to the extent that they call for
                            24 information that is not relevant to any party’s claim or defense and/or not proportional
                            25 to the needs of the case, considering the importance of the issues at stake in the action,
                            26 the amount in controversy, the parties’ relative access to relevant information, the
                            27 parties’ resources, the importance of the discovery in resolving the issues, and whether
                            28 the burden or expense of the proposed discovery outweighs its likely benefit.

                                                                                  3                          EXHIBIT O
                                                    DEFENDANT’S OBJECTIONS TO PLAINTIFFS’ NOTICE OF TAKING FED. R. CIV. P. 30(b)(6) DEPOSITION
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                             1         9.       Defendant objects to the Notice in its entirety, and to each matter
                             2 designated for deposition testimony included therein, to the extent that they purport to
                             3 require the deponent to obtain information not in the deponent’s possession, custody,
                             4 or control.
                             5         10.      Defendant objects to the Notice in its entirety, and to each matter
                             6 designated for deposition testimony included therein, to the extent that each is vague,
                             7 ambiguous and/or compound and does not describe the material sought with sufficient
                             8 particularity.
                             9         11.      Defendant objects to the Notice in its entirety, and to each matter
                            10 designated for deposition testimony included therein, to the extent that they call for
                            11 information that is neither relevant to the subject matter of this action nor likely to
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                            12 lead to the discovery of admissible evidence.
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                            13         12.      Defendant objects to the Notice in its entirety, and to each matter
                            14 designated for deposition testimony included therein, to the extent that they call for
                            15 information that is publicly available or equally available to, or already in the
                            16 possession of, Plaintiffs.
                            17         13.      Defendant objects to the Notice in its entirety, and to each matter
                            18 designated for deposition testimony included therein, to the extent that each is
                            19 overbroad, unduly burdensome, oppressive, and harassing. As drafted, the topics for
                            20 examination identified in the Notice are not limited to the Plaintiffs’ individual claims,
                            21 but, instead, are styled as applying more broadly to all of Defendant’s employees who
                            22 are putative class members. However, Plaintiffs have waived their right and ability to
                            23 pursue class action claims herein by failing to move for certification of any class by
                            24 the deadline set by the Court. Indeed, the Court denied Plaintiffs’ Dismissal Request
                            25 on January 10, 2025, and directed Defendant to file a motion to strike the putative
                            26 class action allegations by January 24, 2025. Further, Plaintiffs’ counsel informed
                            27 Defendant’s counsel by email on the afternoon of January 14, 2025, that “in light of
                            28 the Court’s [January 10, 2025] Order, [Plaintiffs] do not intend to move forward with

                                                                                   4                          EXHIBIT O
                                                     DEFENDANT’S OBJECTIONS TO PLAINTIFFS’ NOTICE OF TAKING FED. R. CIV. P. 30(b)(6) DEPOSITION
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                             1 [their] class claims and will move forward with [their] clients’ individual state law
                             2 Labor Code claims.”
                             3         14.   Defendant objects to the term “Defendant,” as defined in Section I of the
                             4 Notice, and to each matter designated for deposition testimony in which that term is
                             5 used on the grounds that it is unduly burdensome, overbroad, oppressive, harassing,
                             6 seeks information that is not relevant and/or not proportionate to the needs of the case.
                             7 Defendant responds to this Notice on behalf of itself and no other entities or persons.
                             8         15.   Defendant objects to the term “Plaintiffs,” as defined in Section I of the
                             9 Notice, on the grounds that it improperly purports to seek class-related discovery.
                            10 Plaintiffs’ deadline to file their motion for class certification expired two months ago.
                            11 Because Plaintiffs failed to timely move for class certification, they cannot pursue
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                            12 their claims on a class action basis and thus cannot seek discovery pertaining to “all
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                            13 putative class members.”
                            14         16.   Defendant objects to the term “truck drivers” or “drivers,” as defined in
                            15 Section I of the Notice, and to each matter designated for deposition testimony in
                            16 which those terms are used on the grounds that they are unduly burdensome,
                            17 overbroad, oppressive, harassing, seeks information that is not relevant and/or not
                            18 proportionate to the needs of the case, particularly inasmuch as the terms are not
                            19 limited to Plaintiffs whose individual claims are all that remain in this action and/or
                            20 during the limitations periods applicable to Plaintiffs’ individual claims.
                            21         17.   Defendant has not yet completed its investigation of the facts, has not yet
                            22 completed discovery, and has not yet begun its preparation for trial in this matter.
                            23 Consequently, the foregoing objections are given without prejudice to Defendant’s
                            24 right to amend these objections and/or to further object to the Notice and each matter
                            25 designated therein at a later date, including, but not limited to, at the deposition(s).
                            26 ///
                            27 ///
                            28 ///

                                                                                  5                          EXHIBIT O
                                                    DEFENDANT’S OBJECTIONS TO PLAINTIFFS’ NOTICE OF TAKING FED. R. CIV. P. 30(b)(6) DEPOSITION
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                             1       SPECIFIC OBJECTIONS TO EACH MATTER DESIGNATED FOR
                             2                                DEPOSITION TESTIMONY
                             3 MATTER NO. 1:
                             4         Defendant’s practices, policies, procedures, guidelines, and rules regarding its
                             5 truck drivers’ use of their personal cell phones and any reimbursement for such use,
                             6 including but not limited to the creation, implementation, and enforcement of such
                             7 practices, policies, procedures, guidelines, and rules.
                             8 OBJECTIONS TO MATTER NO. 1:
                             9         In addition to the foregoing Recurring Objections, which are expressly
                            10 incorporated herein by this reference as though set forth in full, Defendant objects that
                            11 this matter fails to designate with reasonable particularity the matters on which
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                            12 examination is requested. To that point, Defendant objects to this matter on the
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                            13 grounds that it is overbroad, vague, and ambiguous as to the terms/phrases
                            14 “Defendant’s,” “practices, policies, procedures, guidelines, and rules,” “its truck
                            15 drivers,” “use,” “any reimbursement,” and “creation, implementation, and
                            16 enforcement.”
                            17         Defendant further objects to this matter on the grounds that it is unduly
                            18 burdensome, overbroad, oppressive, harassing, and seeks information that is not
                            19 relevant and/or not proportionate to the needs of the case. First, this matter is not
                            20 limited to any particular time period (and thus is not limited to the limitations period
                            21 applicable to Plaintiffs’ claims) or geographic location (e.g., California). Second, and
                            22 in any event, Plaintiffs’ deadline to file their motion for class certification expired two
                            23 months ago. Because Plaintiffs failed to timely move for class certification, they
                            24 cannot pursue their claims on a class action basis and are not entitled to any discovery
                            25 pertaining to “truck drivers” other than themselves.
                            26         Defendant further objects to this matter to the extent it seeks information that
                            27 invades the attorney-client privilege and/or the attorney work-product doctrine.
                            28 Defendant further objects to this matter to the extent that it seeks disclosure of trade

                                                                                  6                          EXHIBIT O
                                                    DEFENDANT’S OBJECTIONS TO PLAINTIFFS’ NOTICE OF TAKING FED. R. CIV. P. 30(b)(6) DEPOSITION
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                             1 secrets, commercial information, proprietary information and/or constitutionally
                             2 protected information pertaining to Defendant and/or third parties. Defendant also
                             3 objects to this matter to the extent it seeks testimony regarding information that is not
                             4 reasonably accessible due to the undue burden and expense required to attempt
                             5 retrieval of any such materials. Defendant also objects to this matter on the ground
                             6 that, to the extent the requested information is discoverable in whole or in part, less
                             7 intrusive written discovery means could and should have been used.
                             8 MATTER NO. 2:
                             9         Defendant’s compensation practices, policies, procedures, guidelines, and rules
                            10 with regard to Defendant’s truck drivers, including but not limited to the creation,
                            11 implementation, and enforcement of such practices, policies, procedures, guidelines,
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                            12 and rules.
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                            13 OBJECTIONS TO MATTER NO. 2:
                            14         In addition to the foregoing Recurring Objections, which are expressly
                            15 incorporated herein by this reference as though set forth in full, Defendant objects that
                            16 this matter fails to designate with reasonable particularity the matters on which
                            17 examination is requested. To that point, Defendant objects to this matter on the
                            18 grounds that it is overbroad, vague, and ambiguous as to the terms/phrases
                            19 “Defendant’s,” “compensation practices, policies, procedures, guidelines, and rules,”
                            20 “Defendant’s truck drivers,” and “creation, implementation, and enforcement.”
                            21         Defendant further objects to this matter on the grounds that it is unduly
                            22 burdensome, overbroad, oppressive, harassing, and seeks information that is not
                            23 relevant and/or not proportionate to the needs of the case. First, this matter is not
                            24 limited to any particular time period (and thus is not limited to the limitations period
                            25 applicable to Plaintiffs’ claims), geographic location (e.g., California), or specific
                            26 issues involved with Plaintiffs’ individual claims.                   Second, and in any event,
                            27 Plaintiffs’ deadline to file their motion for class certification expired two months ago.
                            28 Because Plaintiffs failed to timely move for class certification, they cannot pursue

                                                                                  7                          EXHIBIT O
                                                    DEFENDANT’S OBJECTIONS TO PLAINTIFFS’ NOTICE OF TAKING FED. R. CIV. P. 30(b)(6) DEPOSITION
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                             1 their claims on a class action basis and are not entitled to any discovery pertaining to
                             2 “truck drivers” other than themselves.
                             3         Defendant further objects to this matter to the extent it seeks information that
                             4 invades the attorney-client privilege and/or the attorney work-product doctrine.
                             5 Defendant further objects to this matter to the extent that it seeks disclosure of trade
                             6 secrets, commercial information, proprietary information and/or constitutionally
                             7 protected information pertaining to Defendant and/or third parties. Defendant also
                             8 objects to this matter to the extent it seeks testimony regarding information that is not
                             9 reasonably accessible due to the undue burden and expense required to attempt
                            10 retrieval of any such materials. Defendant also objects to this matter that, to the extent
                            11 the requested information is discoverable in whole or in part, less intrusive written
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                            12 discovery means could and should have been used.
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                            13 MATTER NO. 3:
                            14         Defendant’s documentation of and record-keeping policies with respect to its
                            15 drivers’ compensation during the liability period.
                            16 OBJECTIONS TO MATTER NO. 3:
                            17         In addition to the foregoing Recurring Objections, which are expressly
                            18 incorporated herein by this reference as though set forth in full, Defendant objects that
                            19 this matter fails to designate with reasonable particularity the matters on which
                            20 examination is requested. To that point, Defendant objects to this matter on the
                            21 grounds that it is overbroad, vague, and ambiguous as to the terms/phrases
                            22 “Defendant’s,’ “documentation of,” “record-keeping policies,” “compensation,” and
                            23 “during the liability period.”
                            24         Defendant further objects to this matter on the grounds that it is unduly
                            25 burdensome, overbroad, oppressive, harassing, and seeks information that is not
                            26 relevant and/or not proportionate to the needs of the case. First, this matter is not
                            27 limited to any identifiable time period, geographic location (e.g., California) or
                            28 specific issues involved with Plaintiffs’ individual claims. Second, and in any event,

                                                                                  8                          EXHIBIT O
                                                    DEFENDANT’S OBJECTIONS TO PLAINTIFFS’ NOTICE OF TAKING FED. R. CIV. P. 30(b)(6) DEPOSITION
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                             1 Plaintiffs’ deadline to file their motion for class certification expired two months ago.
                             2 Because Plaintiffs failed to timely move for class certification, they cannot pursue
                             3 their claims on a class action basis and are not entitled to any discovery pertaining to
                             4 “truck drivers” other than themselves.
                             5         Defendant further objects to this matter to the extent it seeks information that
                             6 invades the attorney-client privilege and/or the attorney work-product doctrine.
                             7 Defendant further objects to this matter to the extent that it seeks disclosure of trade
                             8 secrets, commercial information, proprietary information and/or constitutionally
                             9 protected information pertaining to Defendant and/or third parties. Defendant also
                            10 objects to this matter to the extent it seeks testimony regarding information that is not
                            11 reasonably accessible due to the undue burden and expense required to attempt
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                            12 retrieval of any such materials. Defendant also objects to this matter that, to the extent
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                            13 the requested information is discoverable in whole or in part, less intrusive written
                            14 discovery means could and should have been used.
                            15 MATTER NO. 4:
                            16         Defendant’s practices, policies, procedures, guidelines, and rules with regard to
                            17 Defendant’s truck drivers’ paystubs during the liability period.
                            18 OBJECTIONS TO MATTER NO. 4:
                            19         In addition to the foregoing Recurring Objections, which are expressly
                            20 incorporated herein by this reference as though set forth in full, Defendant objects that
                            21 this matter fails to designate with reasonable particularity the matters on which
                            22 examination is requested. To that point, Defendant objects to this matter on the
                            23 grounds that it is overbroad, vague, and ambiguous as to the terms/phrases
                            24 “Defendant’s,” “practices, policies, procedures, guidelines, and rules,” “Defendant’s
                            25 truck drivers,” “paystubs,” and “during the liability period.”
                            26         Defendant further objects to this matter on the grounds that it is unduly
                            27 burdensome, overbroad, oppressive, harassing, and seeks information that is not
                            28 relevant and/or not proportionate to the needs of the case. First, this matter is not

                                                                                  9                          EXHIBIT O
                                                    DEFENDANT’S OBJECTIONS TO PLAINTIFFS’ NOTICE OF TAKING FED. R. CIV. P. 30(b)(6) DEPOSITION
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                             1 limited to any identifiable time period, geographic location (e.g., California) and
                             2 specific paystub issues involved with Plaintiffs’ individual claims. Second, and in any
                             3 event, Plaintiffs’ deadline to file their motion for class certification expired two
                             4 months ago. Because Plaintiffs failed to timely move for class certification, they
                             5 cannot pursue their claims on a class action basis and are not entitled to any discovery
                             6 pertaining to “truck drivers” other than themselves.
                             7         Defendant further objects to this matter to the extent it seeks information that
                             8 invades the attorney-client privilege and/or the attorney work-product doctrine.
                             9 Defendant further objects to this matter to the extent that it seeks disclosure of trade
                            10 secrets, commercial information, proprietary information and/or constitutionally
                            11 protected information pertaining to Defendant and/or third parties. Defendant also
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                            12 objects to this matter to the extent it seeks testimony regarding information that is not
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                            13 reasonably accessible due to the undue burden and expense required to attempt
                            14 retrieval of any such materials. Defendant also objects to this matter that, to the extent
                            15 the requested information is discoverable in whole or in part, less intrusive written
                            16 discovery means could and should have been used.
                            17 MATTER NO. 5:
                            18         The factual basis supporting any and all affirmative defenses raised in
                            19 Defendant’s Answer to the First Amended Complaint in this matter.
                            20 OBJECTIONS TO MATTER NO. 5:
                            21         In addition to the foregoing Recurring Objections, which are expressly
                            22 incorporated herein by this reference as though set forth in full, Defendant objects that
                            23 this matter fails to designate with reasonable particularity the matters on which
                            24 examination is requested and, on this ground, is unduly burdensome, overbroad,
                            25 oppressive, harassing, seeks information that is not relevant and/or not proportionate
                            26 to the needs of the case. To that point, this matter is overbroad, vague, and ambiguous
                            27 as to the terms/phrases “Defendant’s,” “factual basis” and “any and all affirmative
                            28 defenses.”

                                                                                  10                         EXHIBIT O
                                                    DEFENDANT’S OBJECTIONS TO PLAINTIFFS’ NOTICE OF TAKING FED. R. CIV. P. 30(b)(6) DEPOSITION
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                             1         Defendant further objects to this matter to the extent it purports to require
                             2 Defendant to produce a deponent to testify regarding its legal contentions in this
                             3 action. “[A] 30(b)(6) deposition is not an appropriate vehicle for taking discovery
                             4 into legal contentions.” Zeleny v. Newsom, 2020 WL 3057467, at *2 (N.D. Cal. June
                             5 9, 2020); see also Lenz v. Universal Music Corp., 2010 WL 1610074, at *3 (N.D. Cal.
                             6 Apr. 20, 2010) (questions about legal contentions are “an improper topic for a Rule
                             7 30(b)(6) deposition”); 3M Co. v. Kanbar, 2007 WL 1794936, at *2 (N.D. Cal. June
                             8 19, 2007) (topics “seeking legal conclusions ... should not form the basis for 30(b)(6)
                             9 deposition topics”). To the extent Plaintiffs are not using this matter to obtain factual
                            10 information, and because “oral testimony in which the witness has to answer questions
                            11 on the spot about a party’s legal contentions is an improper use of a deposition,” this
B AKER & H OSTETLER LLP




                            12 matter is improper. Zeleny, 2020 WL 3057467, at *2; see also In re Google RTB
   A TTORNEYS AT L A W
      L OS A NGELES




                            13 Consumer Privacy Litig., 2022 WL 2068215, at *6 (“[I]t is improper for plaintiffs to
                            14 use [a deposition notice] to obtain Google’s legal contentions or legal conclusions.”).
                            15         Defendant further objects to this matter to the extent it seeks information that
                            16 invades the attorney-client privilege and/or the attorney work-product doctrine.
                            17 Defendant further objects to this matter to the extent that it seeks disclosure of trade
                            18 secrets, commercial information, proprietary information and/or constitutionally
                            19 protected information pertaining to Defendant and/or third parties. Defendant also
                            20 objects to this matter that, to the extent the requested information is discoverable in
                            21 whole or in part, less intrusive written discovery means could and should have been
                            22 used. See, e.g., United States v. HVI Cat Canyon, Inc., 2016 WL 11683593, at *7
                            23 (C.D. Cal. Oct. 26, 2016) (Segal, M.J.) (“‘[W]hen the proposed deposition topics are
                            24 complex and highly technical, or involve legal issues that require the assistance of an
                            25 attorney, the interrogatory is the preferred device.’”).
                            26
                            27
                            28

                                                                                  11                         EXHIBIT O
                                                    DEFENDANT’S OBJECTIONS TO PLAINTIFFS’ NOTICE OF TAKING FED. R. CIV. P. 30(b)(6) DEPOSITION
                                                                                                          EXHIBIT O
                          Case 5:24-cv-00073-KK-DTB   Document 118 Filed 02/20/25                  Page 63 of 84 Page ID
                                                             #:3953


                             1 Dated: January 16, 2025             BAKER & HOSTETLER LLP
                             2
                                                                   By: /s/ Matthew C. Kane
                             3                                              Matthew C. Kane
                                                                            Sylvia J. Kim
                             4                                              Amy E. Beverlin
                                                                            Kerri H. Sakaue
                             5                                        Attorneys for Defendant
                                                                      McLANE FOODSERVICE, INC.
                             6
                             7
                             8
                             9
                            10
                            11
B AKER & H OSTETLER LLP




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   A TTORNEYS AT L A W
      L OS A NGELES




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                                                                               12                         EXHIBIT O
                                                 DEFENDANT’S OBJECTIONS TO PLAINTIFFS’ NOTICE OF TAKING FED. R. CIV. P. 30(b)(6) DEPOSITION
                                                                                                            EXHIBIT O
                          Case 5:24-cv-00073-KK-DTB     Document 118 Filed 02/20/25                  Page 64 of 84 Page ID
                                                               #:3954


                             1                                   PROOF OF SERVICE
                             2        I am employed in Los Angeles County, California. I am over the age of
                             3 eighteen years and not a party to the within-entitled action. My business address is
                               1900 Avenue of the Stars, Suite 2700, Los Angeles, CA 90067. On January 16, 2025,
                             4 I served a copy of the within document(s):
                             5    DEFENDANT’S OBJECTIONS TO PLAINTIFFS’ NOTICE OF TAKING
                             6                       FED. R. CIV. P. 30(b)(6) DEPOSITION

                             7
                                           VIA OVERNIGHT MAIL. By placing the document(s) listed above in a
                             8              sealed envelope and affixing a pre-paid air bill in the care and custody of UPS
                                            Overnight, and causing the envelope to be delivered to a UPS Overnight agent for
                             9              delivery on the next business day.
                            10
                                                                DESAI LAW FIRM, P.C.
                            11                                   Aashish Y. Desai, Esq.
                                                                Adrianne De Castro, Esq.
B AKER & H OSTETLER LLP




                            12                                  3200 Bristol St., Suite 650
   A TTORNEYS AT L A W
      L OS A NGELES




                                                                 Costa Mesa, CA 92626
                            13
                            14                                    Attorneys for Plaintiffs

                            15
                            16
                            17       I declare under penalty of perjury under the laws of the State of California that
                               the above is true and correct. Executed on January 16, 2025, at Los Angeles,
                            18 California.
                            19
                            20
                            21                                                                Tyler Patton
                            22
                            23
                            24
                            25
                            26
                            27
                            28

                                                                                 13                         EXHIBIT O
                                                   DEFENDANT’S OBJECTIONS TO PLAINTIFFS’ NOTICE OF TAKING FED. R. CIV. P. 30(b)(6) DEPOSITION
    Case 5:24-cv-00073-KK-DTB                    Document 118 Filed 02/20/25
                              Billing period Feb 7, 2023 - Mar 6, 2023   |   Account #              Page 65 of 84 Page ID
                                                                                                        |   Invoice # 9566213271




PO BOX 489
                                                        #:3955                                              EXHIBIT P
NEWARK, NJ 07101-0489




KEYLINE
/9255359787/


ROCIO HERNANDEZ




                                                                                                             $166.47      $166.47




                                                                                                                Feb         Mar
                                                                                                    Your March bill total is the same as last

                                                                                                    month's. You can see a full breakdown


Your March bill is $166.47                                                                          of all this month's charges on

                                                                                                    go.vzw.com/mybill.



It's due on Mar 29, 2023.You have Auto Pay scheduled for Mar 22, 2023.


                                                                                                     Good to know
.

                                                                                                     Empty
Account charges                                                                            -$9.16
                                                                                                     Check your online bill for all

                                                                                                     surcharges, taxes and gov fees
Rocio Hernandez                                                                           $82.26

951-288-1711
                                                                                                     The total amount due for this month

Rocio Hernandez                                                                           $93.37     includes surcharges of $8.24 and

                                                                                                     taxes and gov fees of $3.14. For an

                                                                                                     itemized list of taxes, fees and

                                                                                                     surcharges visit go.vzw.com/mybill.
                                                                                         $166.47




Balance forward from last bill




Previous balance (through Feb 6)                                                 $166.47



Payment received - Thank you (Feb 22)                                            -$166.47




                                           Total balance forward                 $0.00




                                                                                                            EXHIBIT P                      1

                                                                                                    MADERO-000380
    Case 5:24-cv-00073-KK-DTB                       Document 118 Filed 02/20/25                 Page 66 of 84 Page ID
                                                                                                   EXHIBIT P
                                 Billing period Feb 7, 2023 to Mar 6, 2023   | Account #           |   Invoice # 9566213271
                                                           #:3956



Account Charges                                                                                                           -$9.16



"Add Ons" are features, content, and

apps that we provide to you directly or
                                              Monthly charges and credits                                                -$25.00
through our relationships with certain

content, app, and business partners.
                                              $25 Military Discount 2-3 Phns (Mar 7 - Apr 6)                                  -$25.00
They are Verizon charges. For

questions about these charges, visit

http://m.vzw.com/m/block.

                                              Add-ons                                                                         $14.98


You'll be charged a late fee when you
                                              discovery+ (Ad-Free) Monthly    (Mar 4 - Apr 3)                                   $6.99
don't pay your bill on time. The amount

is the greater of $5 or 1.5% of the

unpaid balance, or as allowed by law in       Disney+ Monthly (Feb 12 - Mar 11)                                                 $7.99

the state of your billing address.




                                              Taxes and gov fees                                                              $0.86



                                              Local tax                                                                         $0.86




                                                                                                   EXHIBIT P                        2

                                                                                                MADERO-000381
  Case 5:24-cv-00073-KK-DTB                     Document 118 Filed 02/20/25                    Page 67 of 84 Page ID
                                                                                                    EXHIBIT P
                             Billing period Feb 7, 2023 to Mar 6, 2023   | Account #                |   Invoice # 9566213271
                                                       #:3957



Rocio Hernandez                                                                                                            $82.26


951-288-1711


PIXEL 6
                                              Monthly charges and credits                                                      $60.00



                                              5G Start (Mar 7 - Apr 6)                                                 $70.00 $60.00


Includes the $10/month discount on
                                              Includes $10.00/month Auto Pay and paper - free billing discount
your 5G START plan for being enrolled

in Auto Pay and paper-free billing.           Device payment 9 of 36 ($699.99/36mo)                                             $19.44


5G products aren't eligible for the           $524.88 remaining after this month (Agreement 1462658653)

access fee discounts generally

offered through your employer or              Trade-In Device Promo Credit 9 of 36                                              -$19.44

organization.



                                              Add-ons                                                                          $17.00
"Add Ons" are features, content, and

apps that we provide to you directly or
                                              Verizon Mobile Protect - (Mar 7 - Apr 6)                                          $17.00
through our relationships with certain

content, app, and business partners.

They are Verizon charges. For
                                              Surcharges                                                                        $4.12
questions about these charges, visit

http://m.vzw.com/m/block.
                                              Fed Universal Service Charge                                                       $0.73



                                              Regulatory Charge                                                                  $0.09



                                              Admin & Telco Recovery Charge                                                      $3.30




                                              Taxes and gov fees                                                                 $1.14



                                              CA State 911 Surcharge                                                             $0.30



                                              CA Teleconnect Fund Surchg                                                         $0.02



                                              CA State High Cost Fund (A)                                                        $0.02



                                              Lifeline Surcharge - CA                                                             $0.13



                                              CA Advanced Srvcs Fund (CASF)                                                      $0.03



                                              CA State 988 Surcharge                                                             $0.08



                                              CA State PUC Fee                                                                   $0.02



                                              CA Relay Srvc/Comm Device Fund                                                     $0.03



                                              Moreno Valley City UUT                                                              $0.51




Rocio Hernandez                                                                                                            $93.37


951-743-1112


GALAXY S22 ULTRA
                                              Monthly charges and credits                                                       $71.11



                                              5G Start (Mar 7 - Apr 6)                                                 $70.00 $60.00


Includes the $10/month discount on
                                              Includes $10.00/month Auto Pay and paper - free billing discount
your 5G START plan for being enrolled

in Auto Pay and paper-free billing.           Device payment 9 of 36 ($1,199.99/36mo)                                           $33.33


5G products aren't eligible for the           $899.91 remaining after this month (Agreement 1462658652)

access fee discounts generally

offered through your employer or              Trade-In Device Promo Credit 9 of 36                                              -$22.22




                                                                                                    EXHIBIT P
organization.

                                                                                                                                    3

                                                                                              MADERO-000382
       Case 5:24-cv-00073-KK-DTB                     Document 118 Filed 02/20/25            Page 68 of 84 Page ID
                                                                                               EXHIBIT P
                                  Billing period Feb 7, 2023 to Mar 6, 2023   | Account #      |   Invoice # 9566213271
                                                            #:3958




"Add Ons" are features, content, and
                                               Add-ons                                                              $17.00
apps that we provide to you directly or

through our relationships with certain         Verizon Mobile Protect - (Mar 7 - Apr 6)                               $17.00
content, app, and business partners.

They are Verizon charges. For

questions about these charges, visit           Surcharges                                                            $4.12
http://m.vzw.com/m/block.

                                               Fed Universal Service Charge                                               $0.73



                                               Regulatory Charge                                                      $0.09



                                               Admin & Telco Recovery Charge                                          $3.30




                                               Taxes and gov fees                                                     $1.14



                                               CA State 911 Surcharge                                                 $0.30



                                               CA Teleconnect Fund Surchg                                             $0.02



                                               CA State High Cost Fund (A)                                            $0.02



                                               Lifeline Surcharge - CA                                                    $0.13



                                               CA Advanced Srvcs Fund (CASF)                                          $0.03



                                               CA State 988 Surcharge                                                 $0.08



                                               CA State PUC Fee                                                       $0.02



                                               CA Relay Srvc/Comm Device Fund                                         $0.03



                                               Moreno Valley City UUT                                                     $0.51




                                               Your bill this month                                               $166.47




                                                                                               EXHIBIT P                          4

                                                                                            MADERO-000383
       Case 5:24-cv-00073-KK-DTB                           Document 118 Filed 02/20/25                    Page 69 of 84 Page ID
                                                                                                                  EXHIBIT P
                                    Billing period Feb 7, 2023 to Mar 6, 2023   | Account # 9                     |   Invoice # 9566213271
                                                                  #:3959




Rocio Hernandez

951.288.1711

PIXEL 6




Talk activity


Date      Time       Number                Origination         Destination         Min.         Airtime Charges        LD/Other Charges   Total



Feb 7     8:58 AM    951.230.0779          Moreno Val, CA      Perris, CA           1           --                     --                 --


Feb 7     8:59 AM    951.230.0779          Moreno Val, CA      Perris, CA           11          --                     --                 --


Feb 7     9:30 AM    951.259.3853          Moreno Val, CA      Perris, CA           1           --                     --                 --


Feb 7     9:31 AM    951.488.4144          Moreno Val, CA      Moreno, CA           1           --                     --                 --


Feb 7     9:34 AM    909.272.8743          Moreno Val, CA      Arrowhead, CA        1           --                     --                 --


Feb 7     9:35 AM    951.623.9178          Moreno Val, CA      Perris, CA           1           --                     --                 --


Feb 7     9:39 AM    951.539.2013          Moreno Val, CA      Arlington, CA        2           --                     --                 --


Feb 7     9:53 AM    951.743.1112          Moreno Val, CA      Riverside, CA        5           --                     --                 --


Feb 7     12:26 PM   951.488.4144          Moreno Val, CA      Moreno, CA           116         --                     --                 --


Feb 7     2:42 PM    951.488.4144          March Air, CA       Incoming, CL         2           --                     --                 --


Feb 7     2:44 PM    951.850.9622          Riverside, CA       VM Deposit, CL       1           --                     --                 --


Feb 7     2:45 PM    951.743.1112          Riverside, CA       Riverside, CA        1           --                     --                 --


Feb 7     3:32 PM    951.743.1112          Perris, CA          Riverside, CA        1           --                     --                 --


Feb 7     5:04 PM    951.850.9622          Moreno Val, CA      Incoming, CL         2           --                     --                 --


Feb 7     5:15 PM    951.732.6837          Moreno Val, CA      Incoming, CL         6           --                     --                 --


Feb 8     5:44 AM    951.230.0779          Moreno Val, CA      Perris, CA           1           --                     --                 --


Feb 8     5:44 AM    951.230.0779          Moreno Val, CA      Incoming, CL         15          --                     --                 --


Feb 8     7:47 AM    951.230.0779          Moreno Val, CA      Incoming, CL         10          --                     --                 --


Feb 8     10:42 AM   951.259.3853          Moreno Val, CA      Incoming, CL         2           --                     --                 --


Feb 8     11:41 AM   909.264.4969          Moreno Val, CA      Incoming, CL         23          --                     --                 --


Feb 8     1:33 PM    866.634.8379          Moreno Val, CA      Toll-Free, CL        12          --                     --                 --


Feb 8     1:57 PM    866.634.8379          Moreno Val, CA      Toll-Free, CL        8           --                     --                 --


Feb 8     3:37 PM    951.488.4144          Moreno Val, CA      Incoming, CL         1           --                     --                 --


Feb 9     7:59 AM    951.743.1112          Riverside, CA       Incoming, CL         1           --                     --                 --


Feb 9     8:40 AM    951.253.1268          Riverside, CA       Incoming, CL         1           --                     --                 --


Feb 9     8:43 AM    951.242.3596          Riverside, CA       Moreno, CA           1           --                     --                 --


Feb 9     9:05 AM    714.910.5507          Riverside, CA       Incoming, CL         1           --                     --                 --


Feb 9     9:24 AM    951.242.3596          Riverside, CA       Moreno, CA           2           --                     --                 --


Feb 9     9:38 AM    951.867.3747          Riverside, CA       Moreno, CA           2           --                     --                 --


Feb 9     9:44 AM    951.867.3555          Riverside, CA       Incoming, CL         1           --                     --                 --


Feb 9     10:48 AM   951.743.1112          Riverside, CA       Incoming, CL         4           --                     --                 --


Feb 9     11:22 AM   951.243.5714          Moreno Val, CA      Sunnymead, CA        1           --                     --                 --


Feb 9     11:23 AM   951.230.0779          Moreno Val, CA      Perris, CA           1           --                     --                 --


Feb 9     11:44 AM   951.230.0779          Moreno Val, CA      Incoming, CL         3           --                     --                 --


Feb 9     12:44 PM   951.242.3596          Moreno Val, CA      Moreno, CA           1           --                     --                 --


Feb 9     12:45 PM   951.222.2208          Moreno Val, CA      Riverside, CA        8           --                     --                 --


Feb 9     1:14 PM    951.230.0779          Moreno Val, CA      Perris, CA           1           --                     --                 --


Feb 9     1:15 PM    951.230.0779          Moreno Val, CA      Perris, CA           1           --                     --                 --


Feb 9     4:14 PM    714.910.5507          WiFi CL             VM Deposit, CL       1           --                     --                 --


Feb 9     6:34 PM    714.884.5067          Moreno Val, CA      Incoming, CL         3           --                     --                 --


Feb 9     11:42 PM   951.230.0779          Santa Ana, CA       Perris, CA           1           --                     --                 --


Feb 9     11:43 PM   951.251.3501          Santa Ana, CA       Moreno, CA           1           --                     --                 --


Feb 10    2:38 AM    951.488.4144          Irvine, CA          Moreno, CA           1           --                     --                 --


Feb 10    2:49 AM    951.623.9178          Newport Be, CA      Incoming, CL         65          --                     --                 --




                                                                                                                  EXHIBIT P                       5

                                                                                                         MADERO-000384
       Case 5:24-cv-00073-KK-DTB                           Document 118 Filed 02/20/25                  Page 70 of 84 Page ID
                                                                                                                EXHIBIT P
                                    Billing period Feb 7, 2023 to Mar 6, 2023   | Account #                     |   Invoice # 9566213271
                                                                  #:3960




Rocio Hernandez

951.288.1711

PIXEL 6




Talk activity (cont.)


Date      Time       Number                Origination         Destination         Min.       Airtime Charges        LD/Other Charges   Total



Feb 10    3:53 AM    951.488.4144          Newport Be, CA      Incoming, CL        82         --                     --                 --


Feb 10    3:53 AM    951.623.9178          Newport Be, CA      Perris, CA          81         --                     --                 --


Feb 10    5:39 AM    951.743.1112          Newport Be, CA      Incoming, CL        1          --                     --                 --


Feb 10    6:13 AM    951.488.4144          Newport Be, CA      Moreno, CA          65         --                     --                 --


Feb 10    7:18 AM    951.488.4144          Irvine, CA          Moreno, CA          1          --                     --                 --


Feb 10    7:18 AM    951.488.4144          Tustin, CA          Incoming, CL        37         --                     --                 --


Feb 10    7:59 AM    951.488.4144          Irvine, CA          Incoming, CL        90         --                     --                 --


Feb 10    10:43 AM   951.743.1112          March Air, CA       Riverside, CA       1          --                     --                 --


Feb 10    10:44 AM   951.743.1112          March Air, CA       Incoming, CL        3          --                     --                 --


Feb 10    3:35 PM    951.242.3596          WiFi CL             Moreno, CA          5          --                     --                 --


Feb 10    3:40 PM    951.222.2208          WiFi CL             Riverside, CA       3          --                     --                 --


Feb 10    3:42 PM    951.222.2208          WiFi CL             Riverside, CA       16         --                     --                 --


Feb 10    4:13 PM    951.242.3596          Moreno Val, CA      Moreno, CA          1          --                     --                 --


Feb 10    9:14 PM    951.230.0779          Moreno Val, CA      Perris, CA          3          --                     --                 --


Feb 10    9:20 PM    714.661.8154          Moreno Val, CA      Santa Ana, CA       2          --                     --                 --


Feb 10    11:13 PM   951.230.0779          Santa Ana, CA       Perris, CA          1          --                     --                 --


Feb 11    2:54 AM    951.230.0779          Costa Mesa, CA      Perris, CA          1          --                     --                 --


Feb 11    3:06 AM    951.230.0779          Costa Mesa, CA      Incoming, CL        57         --                     --                 --


Feb 11    4:02 AM    951.488.4144          Costa Mesa, CA      Incoming, CL        21         --                     --                 --


Feb 11    6:49 AM    623.225.0693          Huntington, CA      VM Deposit, CL      1          --                     --                 --


Feb 11    6:50 AM    909.685.8688          Huntington, CA      Rialto, CA          28         --                     --                 --


Feb 11    7:19 AM    951.488.4144          Huntington, CA      Moreno, CA          1          --                     --                 --


Feb 11    7:19 AM    951.259.3853          Huntington, CA      Perris, CA          16         --                     --                 --


Feb 11    7:23 AM    951.488.4144          Huntington, CA      Incoming, CL        10         --                     --                 --


Feb 11    7:32 AM    951.743.1112          Huntington, CA      Incoming, CL        3          --                     --                 --


Feb 11    8:12 AM    951.623.9178          Fountain V, CA      Perris, CA          31         --                     --                 --


Feb 11    9:32 AM    951.743.1112          Moreno Val, CA      Incoming, CL        8          --                     --                 --


Feb 11    10:07 AM   951.242.3596          Moreno Val, CA      Moreno, CA          7          --                     --                 --


Feb 11    10:13 AM   951.222.2208          Moreno Val, CA      Riverside, CA       2          --                     --                 --


Feb 12    3:29 PM    951.743.1112          Moreno Val, CA      Riverside, CA       1          --                     --                 --


Feb 12    9:14 PM    951.230.0779          Moreno Val, CA      Incoming, CL        1          --                     --                 --


Feb 12    10:17 PM   951.230.0779          Yorba Lind, CA      Incoming, CL        186        --                     --                 --


Feb 12    11:04 PM   951.867.3747          Buena Park, CA      Moreno, CA          1          --                     --                 --


Feb 13    2:09 AM    623.225.0693          Cerritos, CA        Incoming, CL        44         --                     --                 --


Feb 13    2:15 AM    951.867.3747          Cerritos, CA        Moreno, CA          3          --                     --                 --


Feb 13    2:19 AM    951.230.0779          Cerritos, CA        Perris, CA          1          --                     --                 --


Feb 13    2:27 AM    951.867.3555          Artesia, CA         Incoming, CL        3          --                     --                 --


Feb 13    2:30 AM    951.230.0779          Artesia, CA         Perris, CA          304        --                     --                 --


Feb 13    2:53 AM    623.225.0693          Cerritos, CA        Incoming, CL        74         --                     --                 --


Feb 13    7:36 AM    760.368.8913          Cerritos, CA        Twntynplms, CA      29         --                     --                 --




                                                                                                                EXHIBIT P                       6

                                                                                                       MADERO-000385
       Case 5:24-cv-00073-KK-DTB                           Document 118 Filed 02/20/25                  Page 71 of 84 Page ID
                                                                                                                EXHIBIT P
                                    Billing period Feb 7, 2023 to Mar 6, 2023   | Account #                     |   Invoice # 9566213271
                                                                  #:3961




Rocio Hernandez

951.288.1711

PIXEL 6




Talk activity (cont.)


Date      Time       Number                Origination         Destination         Min.       Airtime Charges        LD/Other Charges   Total



Feb 13    8:04 AM    951.867.3555          Artesia, CA         Incoming, CL        2          --                     --                 --


Feb 13    8:05 AM    951.230.0779          Artesia, CA         Incoming, CL        10         --                     --                 --


Feb 13    8:15 AM    951.230.0779          Lapalma, CA         Perris, CA          1          --                     --                 --


Feb 13    8:16 AM    951.230.0779          Lapalma, CA         Perris, CA          2          --                     --                 --


Feb 13    8:24 AM    951.488.4144          Lapalma, CA         Moreno, CA          1          --                     --                 --


Feb 13    8:35 AM    951.230.0779          Lapalma, CA         Incoming, CL        13         --                     --                 --


Feb 13    9:04 AM    951.488.4144          LA Palma, CA        Incoming, CL        94         --                     --                 --


Feb 13    9:36 AM    951.867.3747          Buena Park, CA      Moreno, CA          6          --                     --                 --


Feb 13    11:10 AM   714.884.5067          Moreno Val, CA      Santa Ana, CA       8          --                     --                 --


Feb 13    11:34 AM   951.623.9178          Moreno Val, CA      Perris, CA          1          --                     --                 --


Feb 13    11:47 AM   714.884.5067          Moreno Val, CA      Incoming, CL        7          --                     --                 --


Feb 13    2:40 PM    951.743.1112          Moreno Val, CA      Incoming, CL        1          --                     --                 --


Feb 13    2:41 PM    951.743.1112          Riverside, CA       Incoming, CL        4          --                     --                 --


Feb 13    11:22 PM   951.230.0779          Los Angele, CA      Incoming, CL        13         --                     --                 --


Feb 14    12:43 AM   951.623.9178          Los Angele, CA      Perris, CA          27         --                     --                 --


Feb 14    1:09 AM    951.623.9178          Los Angele, CA      Perris, CA          28         --                     --                 --


Feb 14    2:37 AM    951.230.0779          Los Angele, CA      Perris, CA          1          --                     --                 --


Feb 14    2:46 AM    951.623.9178          Los Angele, CA      Incoming, CL        72         --                     --                 --


Feb 14    2:55 AM    951.488.4144          Rosemead, CA        Moreno, CA          1          --                     --                 --


Feb 14    3:01 AM    951.488.4144          Haciendahe, CA      Incoming, CL        56         --                     --                 --


Feb 14    4:08 AM    951.867.3747          Moreno Val, CA      Moreno, CA          1          --                     --                 --


Feb 14    4:11 AM    951.623.9178          Moreno Val, CA      Perris, CA          5          --                     --                 --


Feb 14    10:13 AM   951.867.3555          Moreno Val, CA      Moreno, CA          3          --                     --                 --


Feb 14    10:22 AM   951.230.0779          Moreno Val, CA      Perris, CA          17         --                     --                 --


Feb 14    10:46 AM   951.242.3596          Riverside, CA       Moreno, CA          1          --                     --                 --


Feb 14    10:47 AM   951.867.3555          Riverside, CA       Moreno, CA          3          --                     --                 --


Feb 14    11:28 AM   951.743.1112          Riverside, CA       Riverside, CA       1          --                     --                 --


Feb 14    11:58 AM   951.743.1112          Riverside, CA       Incoming, CL        1          --                     --                 --


Feb 14    12:13 PM   951.867.3555          Riverside, CA       Moreno, CA          4          --                     --                 --


Feb 14    12:22 PM   951.867.3555          Moreno Val, CA      Incoming, CL        2          --                     --                 --


Feb 14    12:32 PM   951.488.4144          Moreno Val, CA      Incoming, CL        4          --                     --                 --


Feb 14    1:16 PM    951.242.3596          Moreno Val, CA      Moreno, CA          1          --                     --                 --


Feb 15    8:19 AM    951.242.3596          WiFi CL             Moreno, CA          1          --                     --                 --


Feb 15    8:19 AM    951.242.3596          Moreno Val, CA      Moreno, CA          1          --                     --                 --


Feb 15    8:38 AM    951.230.0779          Moreno Val, CA      Perris, CA          9          --                     --                 --


Feb 15    10:45 AM   951.867.3555          Moreno Val, CA      Incoming, CL        2          --                     --                 --


Feb 15    1:21 PM    951.292.3546          Riverside, CA       Incoming, CL        1          --                     --                 --


Feb 15    3:30 PM    951.743.1112          WiFi CL             Riverside, CA       2          --                     --                 --


Feb 16    6:30 AM    951.867.3555          Moreno Val, CA      Moreno, CA          1          --                     --                 --


Feb 16    6:30 AM    951.867.3747          Moreno Val, CA      Moreno, CA          4          --                     --                 --




                                                                                                                EXHIBIT P                       7

                                                                                                       MADERO-000386
       Case 5:24-cv-00073-KK-DTB                           Document 118 Filed 02/20/25                  Page 72 of 84 Page ID
                                                                                                                EXHIBIT P
                                    Billing period Feb 7, 2023 to Mar 6, 2023   | Account #                1 |   Invoice # 9566213271
                                                                  #:3962




Rocio Hernandez

951.288.1711

PIXEL 6




Talk activity (cont.)


Date      Time       Number                Origination         Destination         Min.       Airtime Charges     LD/Other Charges   Total



Feb 16    6:39 AM    951.230.0779          Moreno Val, CA      Incoming, CL        2          --                  --                 --


Feb 16    7:14 AM    951.230.0779          Moreno Val, CA      Perris, CA          1          --                  --                 --


Feb 16    7:29 AM    951.230.0779          Moreno Val, CA      Perris, CA          1          --                  --                 --


Feb 16    7:44 AM    951.230.0779          Moreno Val, CA      Perris, CA          2          --                  --                 --


Feb 16    10:44 AM   951.420.1005          Hemet, CA           Perris, CA          1          --                  --                 --


Feb 16    12:02 PM   951.867.3555          Moreno Val, CA      Incoming, CL        1          --                  --                 --


Feb 16    12:06 PM   951.867.3555          Moreno Val, CA      Moreno, CA          1          --                  --                 --


Feb 16    12:12 PM   951.867.3555          WiFi CL             Moreno, CA          5          --                  --                 --


Feb 16    12:29 PM   951.867.3555          Moreno Val, CA      Moreno, CA          2          --                  --                 --


Feb 17    7:21 AM    714.884.5067          Moreno Val, CA      Incoming, CL        2          --                  --                 --


Feb 17    7:24 AM    760.368.8913          Moreno Val, CA      Twntynplms, CA      4          --                  --                 --


Feb 17    9:07 AM    951.867.3555          Moreno Val, CA      Moreno, CA          2          --                  --                 --


Feb 17    9:20 AM    951.420.1005          Moreno Val, CA      Perris, CA          4          --                  --                 --


Feb 17    12:06 PM   951.242.3596          Moreno Val, CA      Moreno, CA          2          --                  --                 --


Feb 17    12:08 PM   818.428.3791          Moreno Val, CA      Northridge, CA      1          --                  --                 --


Feb 17    12:08 PM   818.428.3791          Moreno Val, CA      Northridge, CA      2          --                  --                 --


Feb 17    12:10 PM   951.242.3596          Moreno Val, CA      Moreno, CA          3          --                  --                 --


Feb 17    12:13 PM   951.242.3596          Moreno Val, CA      Moreno, CA          7          --                  --                 --


Feb 17    12:21 PM   951.222.2208          Moreno Val, CA      Riverside, CA       7          --                  --                 --


Feb 17    12:28 PM   888.944.3747          Moreno Val, CA      Toll-Free, CL       7          --                  --                 --


Feb 17    12:34 PM   951.242.3596          Moreno Val, CA      Moreno, CA          1          --                  --                 --


Feb 17    12:48 PM   951.743.1112          Moreno Val, CA      Riverside, CA       3          --                  --                 --


Feb 17    6:35 PM    951.850.9622          Moreno Val, CA      Incoming, CL        2          --                  --                 --


Feb 18    4:43 PM    951.850.9622          Moreno Val, CA      Riverside, CA       2          --                  --                 --


Feb 18    5:55 PM    951.743.1112          Moreno Val, CA      Incoming, CL        1          --                  --                 --


Feb 19    8:47 AM    951.743.1112          Riverside, CA       Incoming, CL        1          --                  --                 --


Feb 19    8:48 AM    951.743.1112          Moreno Val, CA      Incoming, CL        2          --                  --                 --


Feb 20    8:06 AM    951.230.0779          Moreno Val, CA      Perris, CA          1          --                  --                 --


Feb 20    8:12 AM    714.884.5067          Moreno Val, CA      Incoming, CL        8          --                  --                 --


Feb 20    9:25 AM    951.743.1112          Moreno Val, CA      Incoming, CL        2          --                  --                 --


Feb 20    1:53 PM    951.228.7197          Moreno Val, CA      Incoming, CL        2          --                  --                 --


Feb 20    2:35 PM    626.243.2021          Moreno Val, CA      Incoming, CL        1          --                  --                 --


Feb 20    6:11 PM    951.230.0779          Moreno Val, CA      Perris, CA          7          --                  --                 --


Feb 21    7:57 AM    951.743.1112          Moreno Val, CA      Incoming, CL        1          --                  --                 --


Feb 21    5:05 PM    951.743.1112          Moreno Val, CA      Riverside, CA       1          --                  --                 --


Feb 21    5:08 PM    951.743.1112          Moreno Val, CA      Riverside, CA       1          --                  --                 --


Feb 21    5:08 PM    951.743.1112          Moreno Val, CA      Riverside, CA       1          --                  --                 --


Feb 21    5:10 PM    951.743.1112          Moreno Val, CA      Incoming, CL        4          --                  --                 --


Feb 22    7:54 AM    951.230.0779          Riverside, CA       Incoming, CL        46         --                  --                 --


Feb 22    8:40 AM    888.770.6588          Riverside, CA       Incoming, CL        13         --                  --                 --




                                                                                                                EXHIBIT P                    8

                                                                                                       MADERO-000387
       Case 5:24-cv-00073-KK-DTB                           Document 118 Filed 02/20/25                  Page 73 of 84 Page ID
                                                                                                                EXHIBIT P
                                    Billing period Feb 7, 2023 to Mar 6, 2023   | Account #            0001 |   Invoice # 9566213271
                                                                  #:3963




Rocio Hernandez

951.288.1711

PIXEL 6




Talk activity (cont.)


Date      Time       Number                Origination         Destination         Min.       Airtime Charges    LD/Other Charges   Total



Feb 22    11:11 AM   951.743.1112          Moreno Val, CA      Riverside, CA       2          --                 --                 --


Feb 22    1:12 PM    215.640.1000          Moreno Val, CA      Incoming, CL        16         --                 --                 --


Feb 22    1:30 PM    951.222.2208          WiFi CL             Riverside, CA       16         --                 --                 --


Feb 22    1:54 PM    951.228.7197          Moreno Val, CA      Incoming, CL        2          --                 --                 --


Feb 22    1:56 PM    215.640.1000          Riverside, CA       Incoming, CL        1          --                 --                 --


Feb 22    2:43 PM    714.884.5067          Moreno Val, CA      Santa Ana, CA       2          --                 --                 --


Feb 22    3:19 PM    951.222.2208          Moreno Val, CA      Incoming, CL        2          --                 --                 --


Feb 22    6:33 PM    951.743.1112          Riverside, CA       Incoming, CL        5          --                 --                 --


Feb 22    7:09 PM    951.743.1112          Moreno Val, CA      Incoming, CL        1          --                 --                 --


Feb 23    7:58 AM    951.570.4545          Moreno Val, CA      Incoming, CL        10         --                 --                 --


Feb 23    8:23 AM    866.447.0650          Moreno Val, CA      Incoming, CL        1          --                 --                 --


Feb 23    5:50 PM    951.230.0779          Riverside, CA       Perris, CA          1          --                 --                 --


Feb 23    5:51 PM    951.743.1112          Moreno Val, CA      Riverside, CA       2          --                 --                 --


Feb 23    6:03 PM    951.743.1112          Moreno Val, CA      Incoming, CL        2          --                 --                 --


Feb 23    6:06 PM    951.743.1112          Moreno Val, CA      Incoming, CL        3          --                 --                 --


Feb 24    1:58 PM    951.743.1112          Moreno Val, CA      Riverside, CA       1          --                 --                 --


Feb 24    1:58 PM    951.743.1112          Moreno Val, CA      Riverside, CA       2          --                 --                 --


Feb 24    2:57 PM    951.743.1112          Moreno Val, CA      Riverside, CA       1          --                 --                 --


Feb 24    3:11 PM    951.743.1112          Moreno Val, CA      Riverside, CA       3          --                 --                 --


Feb 24    5:35 PM    951.539.2013          Moreno Val, CA      Arlington, CA       1          --                 --                 --


Feb 25    3:57 PM    714.884.5067          Riverside, CA       Incoming, CL        2          --                 --                 --


Feb 25    4:08 PM    951.743.1112          Moreno Val, CA      Riverside, CA       1          --                 --                 --


Feb 26    3:34 PM    951.743.1112          Riverside, CA       Incoming, CL        2          --                 --                 --


Feb 26    4:42 PM    951.743.1112          WiFi CL             Riverside, CA       2          --                 --                 --


Feb 26    5:19 PM    951.743.1112          Moreno Val, CA      Riverside, CA       1          --                 --                 --


Feb 26    7:26 PM    951.743.1112          Perris, CA          Riverside, CA       2          --                 --                 --


Feb 26    7:27 PM    951.743.1112          Perris, CA          Riverside, CA       1          --                 --                 --


Feb 26    10:55 PM   951.230.0779          Riverside, CA       Incoming, CL        8          --                 --                 --


Feb 27    9:13 AM    951.327.7005          Riverside, CA       Incoming, CL        1          --                 --                 --


Feb 27    9:37 AM    609.934.4557          Riverside, CA       Incoming, CL        1          --                 --                 --


Feb 27    4:22 PM    916.739.2892          Riverside, CA       Incoming, CL        1          --                 --                 --


Feb 27    7:51 PM    951.230.0779          WiFi CL             Perris, CA          1          --                 --                 --


Feb 28    9:42 AM    951.230.0779          Moreno Val, CA      Perris, CA          9          --                 --                 --


Feb 28    2:16 PM    928.851.7244          Riverside, CA       Incoming, CL        1          --                 --                 --


Feb 28    3:17 PM    808.493.1002          Riverside, CA       Incoming, CL        1          --                 --                 --


Feb 28    3:27 PM    951.850.9622          WiFi CL             VM Deposit, CL      1          --                 --                 --


Feb 28    3:40 PM    951.743.1112          WiFi CL             Riverside, CA       2          --                 --                 --


Feb 28    3:47 PM    951.743.1112          WiFi CL             Riverside, CA       2          --                 --                 --


Feb 28    5:07 PM    951.850.9622          Riverside, CA       Incoming, CL        2          --                 --                 --


Mar 1     8:53 AM    760.368.8913          Moreno Val, CA      Incoming, CL        16         --                 --                 --




                                                                                                                EXHIBIT P                   9

                                                                                                       MADERO-000388
       Case 5:24-cv-00073-KK-DTB                           Document 118 Filed 02/20/25                  Page 74 of 84 Page ID
                                                                                                                EXHIBIT P
                                    Billing period Feb 7, 2023 to Mar 6, 2023   | Account #               01 |   Invoice # 9566213271
                                                                  #:3964




Rocio Hernandez

951.288.1711

PIXEL 6




Talk activity (cont.)


Date      Time       Number                Origination         Destination         Min.       Airtime Charges     LD/Other Charges   Total



Mar 1     11:25 AM   714.884.5067          Moreno Val, CA      VM Deposit, CL      1          --                  --                 --


Mar 1     1:39 PM    626.879.0297          Moreno Val, CA      Incoming, CL        1          --                  --                 --


Mar 1     3:13 PM    951.743.1112          Moreno Val, CA      Riverside, CA       1          --                  --                 --


Mar 1     4:06 PM    213.223.8776          Moreno Val, CA      Incoming, CL        1          --                  --                 --


Mar 1     4:46 PM    951.356.7837          Moreno Val, CA      Incoming, CL        1          --                  --                 --


Mar 1     8:31 PM    213.205.2722          Moreno Val, CA      Incoming, CL        1          --                  --                 --


Mar 2     11:26 AM   951.228.7197          Riverside, CA       Incoming, CL        1          --                  --                 --


Mar 2     11:31 AM   951.530.4255          Riverside, CA       Incoming, CL        1          --                  --                 --


Mar 2     6:30 PM    951.743.1112          Moreno Val, CA      Riverside, CA       3          --                  --                 --


Mar 2     6:33 PM    951.743.1112          Moreno Val, CA      Riverside, CA       1          --                  --                 --


Mar 2     8:07 PM    951.743.1112          Moreno Val, CA      Incoming, CL        1          --                  --                 --


Mar 3     8:01 AM    951.743.1112          Moreno Val, CA      Incoming, CL        1          --                  --                 --


Mar 3     10:36 AM   951.850.9622          Moreno Val, CA      Incoming, CL        2          --                  --                 --


Mar 3     12:06 PM   209.457.5749          Riverside, CA       Incoming, CL        1          --                  --                 --


Mar 3     5:56 PM    951.230.0779          Moreno Val, CA      Perris, CA          15         --                  --                 --


Mar 3     6:11 PM    951.743.1112          Moreno Val, CA      Riverside, CA       3          --                  --                 --


Mar 3     6:15 PM    951.251.3501          Moreno Val, CA      Moreno, CA          25         --                  --                 --


Mar 3     6:17 PM    951.743.1112          Moreno Val, CA      Incoming, CL        1          --                  --                 --


Mar 3     6:40 PM    951.743.1112          Moreno Val, CA      Riverside, CA       1          --                  --                 --


Mar 4     6:22 AM    951.796.2466          Moreno Val, CA      Incoming, CL        1          --                  --                 --


Mar 4     11:48 AM   951.743.1112          Moreno Val, CA      Riverside, CA       4          --                  --                 --


Mar 5     9:37 AM    Unavailable           Moreno Val, CA      Incoming, CL        1          --                  --                 --


Mar 5     8:28 PM    951.743.1112          Perris, CA          Incoming, CL        1          --                  --                 --


Mar 6     7:49 AM    951.379.1500          WiFi CL             Moreno, CA          1          --                  --                 --


Mar 6     8:16 AM    866.429.5150          Moreno Val, CA      Incoming, CL        1          --                  --                 --


Mar 6     11:26 AM   443.699.1814          Riverside, CA       Incoming, CL        1          --                  --                 --


Mar 6     2:35 PM    951.743.1112          Moreno Val, CA      Riverside, CA       1          --                  --                 --




                                                                                                                EXHIBIT P                    10

                                                                                                       MADERO-000389
 Case 5:24-cv-00073-KK-DTB            Document 118 Filed 02/20/25             Page 75 of 84 Page ID
                                                                                     EXHIBIT P
verizon’          Billing period Feb 7, 2023 to Mar 6, 2023                   0001   | Invoice
                                                                                       Invoice## 9566213271
                                                                                                 9566213271
                                             #:3965| Account #
                  Billing period Feb 7, 2023 to Mar 6, 2023   | Account # 9   0001 |




Rocio Hernandez
Rocio Hernandez



ee        ULTRA
          ULTRA




                                                                                     EXHIBIT P                11
                                                                                                              11

                                                                              MADERO-000390
                                                                              MADERO-000390
       Case 5:24-cv-00073-KK-DTB               Document 118 Filed 02/20/25                    Page 76 of 84 Page ID
                                                                                                      EXHIBIT P
                          Billing period Feb 7, 2023 to Mar 6, 2023   | Account #                     |   Invoice # 9566213271
                                                      #:3966




Rocio Hernandez

951.743.1112

GALAXY S22 ULTRA




Talk activity (cont.)


Date      Time   Number          Origination        Destination          Min.       Airtime Charges        LD/Other Charges   Total




                                                                                                      EXHIBIT P                       12

                                                                                             MADERO-000391
       Case 5:24-cv-00073-KK-DTB               Document 118 Filed 02/20/25                    Page 77 of 84 Page ID
                                                                                                      EXHIBIT P
                          Billing period Feb 7, 2023 to Mar 6, 2023   | Account #               01 |   Invoice # 9566213271
                                                      #:3967




Rocio Hernandez



GALAXY S22 ULTRA




Talk activity (cont.)


Date      Time   Number          Origination        Destination          Min.       Airtime Charges     LD/Other Charges   Total




                                                                                    --                  --                 --




                                                                                                      EXHIBIT P                    13

                                                                                             MADERO-000392
Case 5:24-cv-00073-KK-DTB                      Document 118 Filed 02/20/25                        Page 78 of 84 Page ID
                                                                                                         EXHIBIT P
                          Billing period Feb 7, 2023 to Mar 6, 2023   | Account #               00001 |   Invoice # 9566213271
                                                      #:3968




   Additional information



   Customer Proprietary Network Information                              Service Plan Features & Services

   (CPNI)                                                                If your service plan has optional features or services that

                                                                         are included as part of your monthly subscription, electing
   CPNI is information made available to us solely by virtue
                                                                         to activate these subscriptions may affect your
   of our relationship with you that relates to the type,
                                                                         surcharges, taxes and governmental fees, even though
   quantity, destination, technical configuration, location, and
                                                                         your plan monthly service price does not change.
   amount of use of the telecommunications and
                                                                         Examples of these features are Apple Music or the
   interconnected VoIP services you purchase from us, as
                                                                         Disney bundle.
   well as related billing information. The protection of your

   information is important to us, and you have a right, and

   we have a duty, under federal law, to protect the                     Taxes and Other Governmental Charges

   confidentiality of your CPNI.                                         We are required by law to collect these charges, which

                                                                         are based on your service address. You can update your

   We may use and share your CPNI among our affiliates                   service address on go.vzw.com/changeaddress.

   and agents to offer you services that are different from

   the services you currently purchase from us. Verizon
                                                                         More On Wireless Taxes And Surcharges
   offers a full range of services, such as television,
                                                                         Your total charges for this month's bill cycle are $166.47.
   telematics, high-speed Internet, video, and local and long

   distance services. Visit Verizon.com for more information
                                                                         This includes charges for one or more bundled Verizon
   on our services and companies.
                                                                         service plans that include voice, messaging, data, or other

                                                                         services for which you pay a monthly plan charge.
   If you don't want your CPNI used for the marketing

   purposes described above, please notify us by phone any
                                                                         This bill cycle, your fixed monthly plan charges were
   time at 800.333.9956 or online at vzw.com/myprivacy.
                                                                         $120.00 (before applying any discounts or credits, and

                                                                         excluding other charges such as overage, late payment,
   Unless you notify us in one of these ways, we may use
                                                                         taxes, Verizon surcharges, and equipment).
   your CPNI as described above beginning 30 days after

   the first time we notify you of this CPNI policy. Your
                                                                         To accurately bill taxes and Verizon surcharges, we
   choice will remain valid until you notify us that you wish to
                                                                         regularly look at past network usage by you and other
   change your selection. Your decision about use of your
                                                                         customers with similar plans to allocate this fixed monthly
   CPNI will not affect the provision of any services you
                                                                         plan charge among the services included in the bundle.
   currently have with us.


                                                                         In this bill cycle, we have allocated this amount as follows:
   Note: This CPNI notice does not apply to residents of the
                                                                         $6.42 for voice, $1.32 for messaging, $112.26 for data,
   state of Arizona.
                                                                         and $0.00 for other services.



   Explanation of Surcharges                                             For more information, please go to

   Verizon wireless surcharges include (i) a Regulatory                  vzw.com/taxesandsurcharges.

   Charge (which helps defray various government charges

   we pay including government number administration and
                                                                         Bankruptcy Information
   license fees); (ii) a Federal Universal Service Charge (and,
                                                                         If you are or were in bankruptcy, this bill may include
   if applicable, a State Universal Service Charge) to recover
                                                                         amounts for pre-bankruptcy charges. You should not pay
   charges imposed on us by the government to support
                                                                         pre-bankruptcy amounts; they are for your information
   universal service; and (iii) an Administrative and Telco
                                                                         only. In the event Verizon receives notice of a bankruptcy
   Recovery Charge, which helps defray and recover certain
                                                                         filing, pre-bankruptcy charges will be adjusted in future
   direct and indirect costs we or our agents incur, including:
                                                                         invoices. Mail bankruptcy-related correspondence to 500
   (a) costs of complying with regulatory and industry
                                                                         Technology Drive, Suite 550, Weldon Spring, MO 63304.
   obligations and programs, such as E911, wireless local

   number portability and wireless tower mandate costs;

   (b) property taxes; and

   (c) costs associated with our network, including facilities

   (e.g. leases), operations, maintenance and protection, and

   costs paid to other companies for network services.

   Please note that these are Verizon wireless charges,

   not taxes or government imposed fees. These charges,

   and what's included, are subject to change from time to

   time.




                                                                                                         EXHIBIT P                       14

                                                                                                  MADERO-000393
Case 5:24-cv-00073-KK-DTB                     Document 118 Filed 02/20/25                           Page 79 of 84 Page ID
                                                                                                         EXHIBIT P
                          Billing period Feb 7, 2023 to Mar 6, 2023   | Account #                       |   Invoice # 9566213271
                                                     #:3969




   Additional information



   California - Questions About Your Bill?                               For individuals who have difficulty speaking, CRS offers

                                                                         Speech-to-Speech (STS) services. Specially trained CAs
   Call Customer Service at 800.922.0204. Send written
                                                                         are on hand to assist in these types of calls by repeating
   disputes to: Verizon, PO Box 409, Newark, NJ
                                                                         the STS user's spoken part of the conversation to you in
   07101-0409. If you are disputing a charge because you
                                                                         short phrases (unless otherwise requested by the user),
   contend it was not authorized, and we need time to
                                                                         working closely to ensure the entire conversation is
   investigate the complaint, you are not required to pay the
                                                                         understood.
   disputed amount while our investigation is pending. If you

   have a complaint you cannot resolve with us, submit a
                                                                         Captioned Telephone (CTS)
   complaint to the California Public Utilities Commission at
                                                                         Captioned Telephone is ideal and available for individuals
   Consumer Affairs Branch, 505 Van Ness Ave. Rm. 2003,
                                                                         who have difficulty hearing on the phone and are able to
   San Francisco, CA 94102, or at
                                                                         speak for themselves. A captioned telephone allows
   http://www.cpuc.ca.gov/complaints, or call 800.649.7570.
                                                                         users to listen and read captions of what is said to them.
   If you have hearing or speaking limitations and need
                                                                         To call a Captioned Telephone user, dial: 711 or
   California Relay Service, dial 711(visit
                                                                         866-399-9050.
   http://ddtp.cpuc.ca.gov/ for further information). If you

   need to contact your wireless phone insurance provider,

   call 888.881.2622                                                     How do I apply for specialized equipment?

                                                                         The California Telecommunications Access Program

                                                                         (CTAP) offers amplified phones, TTYs, Voice Carry Over
   Consider it fixed
                                                                         (VCO) phones, Captioned Telephones, and other
   Verizon Home Device Protect is the last warranty you'll
                                                                         equipment to eligible individuals in California who are
   need for your connected home products. Get repairs or
                                                                         Deaf, DeafBlind, Hard of Hearing, have difficulty speaking
   replacements for covered breakdowns of eligible home
                                                                         or any cognitive disability.
   entertainment from gaming devices and

   wearables to home office and smart home products.          Visit
                                                                         For more information, visit https://ddtp.cpuc.ca.gov or call
   verizon.com/homedeviceprotect
                                                                         877-546-7414 (voice) or 800-867-4323 (TTY).


   TO OUR CUSTOMERS IN CALIFORNIA:
                                                                         To place a call using California Relay Service, dial 711

   IMPORTANT INFORMATION REGARDING CALIFORNIA

   RELAY SERVICE                                                         Customer Care:

                                                                         california@hamiltonrelay.com

   What is California Relay Service (CRS)?                               ca-relay.com

   CRS is a public service that guarantees all citizens access

   to prompt, professional and accurate communication                    California Relay Service

   through the telephone. Consumers of these specialized                 Speech-to-Speech

   services, specifically individuals who are Deaf, DeafBlind,           The power to connect us all.

   Hard of Hearing or have difficulty speaking, can

   communicate on the telephone via TTY, Voice Carry Over                California Relay Service (CRS) is funded by the Deaf and

   (VCO), Hearing Carry Over (HCO), Speech-to-Speech                     Disabled Telecommunications Program (DDTP), a

   (STS), Spanish and Captioned Telephone. This allows                   program of the California Public Utilities Commission.

   individuals to connect with family, friends or businesses

   with ease.
                                                                         Important Information Regarding Your

                                                                         Customer Agreement
   How does relay work?
                                                                         Verizon has updated parts of your Customer Agreement.
   Dial 711 to connect with CRS. A qualified Communication
                                                                         In the "My Privacy" section, we specified where
   Assistant (CA) will ask for the area code and the number
                                                                         customers can view privacy policies specific to their state,
   of the person you wish to call and begin the relay call.
                                                                         if any. In the "How and when can I dispute charges?"
   CAs can also access consumer phone books, allowing
                                                                         section we added where customers can access and
   them to place calls based on a provided contact name.
                                                                         complete an online notice of dispute form. In the "HOW
   Generally, the CA will voice the typed message from the
                                                                         DO I RESOLVE DISPUTES WITH VERIZON?" section we:
   text telephone (TTY) user to you. The CA relays your
                                                                         clarified certain provisions regarding the rules for and
   voiced message by typing it to the TTY user.
                                                                         authority of the arbitrator as well as the rules and

                                                                         procedures of the bellwether arbitration proceedings

                                                                         applicable in the event 50 or more customers initiate

                                                                         notices of dispute or file complaint(s) in court which raise

                                                                         similar claims.




                                                                                                         EXHIBIT P                      15

                                                                                                    MADERO-000394
Case 5:24-cv-00073-KK-DTB                      Document 118 Filed 02/20/25                       Page 80 of 84 Page ID
                                                                                                       EXHIBIT P
                         Billing period Feb 7, 2023 to Mar 6, 2023   | Account #                       |   Invoice # 9566213271
                                                      #:3970




   Additional information



   Notice of Public Hearings in California                              How does this process work? This rulemaking is

                                                                        considering revising existing service quality requirements
   Notice of public hearings in Rulemaking 22-03-016
                                                                        for telephone service, as well as adopting new standards
   regarding service quality for telecommunications services
                                                                        for mobile telephone service and VoIP service. The
   in California.
                                                                        rulemaking is assigned to a CPUC Administrative Law

                                                                        Judge and a Commissioner, who will consider proposals
   Dates:
                                                                        and evidence presented during formal processes, and
   Public participation hearing, April 18, 2023, at 2:00 p.m.
                                                                        then issue a proposed decision. Any CPUC Commissioner
   adminmonitor.com/ca/cpuc
                                                                        may sponsor an alternate decision with a different
   Toll-free phone number: 1-800-857-1917; code: 1767567#
                                                                        outcome. The proposed decision, and any alternate
   Spanish language toll-free phone number:
                                                                        decisions, will be discussed and voted upon by the CPUC
   1-800-857-1917; code: 3799627#
                                                                        Commissioners at a public CPUC Voting Meeting. Parties

                                                                        involved in the rulemaking include the Public Advocates
   Public participation hearing, April 18, 2023, at 6:00 p.m.
                                                                        Office. The Public Advocates Office is an independent
   adminmonitor.com/ca/cpuc
                                                                        consumer advocate within the CPUC that represents
   Toll-free phone number: 1-800-857-1917; code: 1767567#
                                                                        customers to help them obtain the lowest possible rates
   Spanish language toll-free phone number:
                                                                        consistent with reliable and safe service levels. Find out
   1-800-857-1917; code: 3799627#
                                                                        more here: 1-415-703-1584, email

                                                                        PublicAdvocatesOffice@cpuc.ca.gov or visit
   Public participation hearing, May 3, 2023, at 2:00 p.m.
                                                                        PublicAdvocates.cpuc.ca.gov.
   adminmonitor.com/ca/cpuc

   Toll-free phone number: 1-800-857-1917; code: 1767567#
                                                                        Contact the CPUC: Please visit
   Spanish language toll-free phone number:
                                                                        apps.cpuc.ca.gov/c/R2203016 to submit a public
   1-800-857-1917; code: 3799627#
                                                                        comment about this rulemaking to the CPUC. You may

                                                                        also mail written comments to the CPUC's Public
   Public participation hearing, May 3, 2023, at 6:00 p.m.
                                                                        Advisor's address below. For more information on
   adminmonitor.com/ca/cpuc
                                                                        participating in the public hearing, submitting comments,
   Toll-free phone number: 1-800-857-1917; code: 1767567#
                                                                        to request special assistance, or to request a non-English
   Spanish language toll-free phone number:
                                                                        or Spanish language interpreter, please contact the
   1-800-857-1917; code: 3799627#
                                                                        CPUC's Public Advisor's Office at least five days prior to

                                                                        the hearings.
   Why am I receiving this notice? The California Public

   Utilities Commission (CPUC) wants to hear from you.
                                                                        CPUC Public Advisor's Office
   Virtual public hearings have been scheduled to hear your
                                                                        505 Van Ness Avenue
   comments, concerns and opinions regarding the quality
                                                                        San Francisco, CA 94102
   of your telephone, mobile telephone, and Voice over
                                                                        Phone: 1-866-849-8390 (toll-free) or 1-415-703-2074
   Internet Protocol (VoIP) service, with a particular
                                                                        Email: Public.Advisor@cpuc.ca.gov
   emphasis on service outages and service restoration.

   Your participation by providing comments can help to
                                                                        Please reference Rulemaking 22-03-016 in any
   inform the CPUC on these issues. You can watch a
                                                                        communications you have with the CPUC regarding this
   livestream of the hearings or participate via telephone.
                                                                        matter.
   You can also submit comments by mail or post them on

   the CPUC's public comment portal.




                                                                                                       EXHIBIT P                     16

                                                                                                 MADERO-000395
  Case 5:24-cv-00073-KK-DTB                       Document 118 Filed 02/20/25                         Page 81 of 84 Page ID
                                                                                                             EXHIBIT P
                             Billing period Feb 7, 2023 - Mar 6, 2023   |   Account # 9              001 |   Invoice # 9566213271
                                                         #:3971



      You're all set.



      Pay in cash

      Go to vzw.com/stores to find a Verizon Wireless store

      near you or find a Check Free Pay or Western Union

      near you to make a cash payment. Go to

      vzw.com/support/pay-bill-faqs/ to learn more.




      Autopay scheduled

      $166.47 will be deducted from your bank account on

      March 22.




      My Verizon

      Use the My Verizon app or download it at

      go.vzw.com/mva to manage your account, pay your

      bill, check data usage, and much more.




      Go paper-free

      Enroll in paper-free billing; the easy, clutter-free way

      to manage and pay your bill. Enroll at

      go.vzw.com/gopaperfree.




                                                                                                                                    VW

                                                                 Bill date                    March 06, 2023

                                                                 Account number                              -00001

                                                                 Invoice number               9566213271

ROCIO HERNANDEZ

                                                                 Total Amount Due


                                                                 Deducted from bank account on 03/22/23

                                                                 DO NOT MAIL PAYMENT                                        $166.47




                                                                                PO BOX 660108
Please see back for instructions on writing to us.
                                                                                DALLAS, TX 75266-0108



                                                                                /7526601085/




                                                                EXHIBIT P
                     95662132710109735903020000100000016647000000166478
                                                             MADERO-000396
            Case 5:24-cv-00073-KK-DTB                             Document 118 Filed 02/20/25                                Page 82 of 84 Page ID
                                                                         #:3972                                                     EXHIBIT P




       Questions? Visit go.vzw.com/contactus or call 1.800.922.0204.




       Change your address at go.vzw.com/changeaddress



       IMPORTANT INFORMATION:




       Many questions regarding billing can be resolved easily online or in the My Verizon App. Our customer service

       representatives are also available by phone, chat or in a retail store to assist you with billing questions or disputes.




       All written communication related to billing disputes and checks tendered as payment in full to a billing


       dispute must be sent to the below address.




       Please select a checkbox at the bottom of the page that best describes how we can help you and include it with

       your written correspondence.




       Verizon Attn: Correspondence Team

       PO Box 15069

       Albany, NY 12212




Automatic Payment Enrollment for Account:                         1 ROCIO HERNANDEZ

By signing below, you authorize Verizon to electronically debit your bank account each month for the total balance due on your account. The check you send will be used to
setup Automatic Payment. You will be notified each month of the date and amount of the debit 10 days in advance of the payment. You agree to receive all Auto Pay related
communications electronically. I understand and accept these terms. This agreement does not alter the terms of your existing Customer Agreement. I agree that Verizon is not
liable for erroneous bill statements or incorrect debits to my account. To withdraw your authorization you must call Verizon. Check with your bank for any charges.

     1. Check this box.       2. Sign name in box below, as shown on the bill and date.            3. Return this slip with your payment. Do not send a voided check.




 Please select a checkbox that best describes how we can help you and include details in the box below with any written correspondence.




    Payment         Address         Name          Billing        Service

   Verification     Change         Change        Dispute         Change          Other




 Additional information (for example new address or details on your request)




                                                                                                                                    EXHIBIT P
                                                                                                                             MADERO-000397
 Case 5:24-cv-00073-KK-DTB                             Document 118 Filed 02/20/25                                Page 83 of 84 Page ID
                                                              #:3973

  From: adrianne desai-law.com adrianne@desai-law.com
Subject: Fwd: Thanks for making a T-Mobile payment
   Date: January 14, 2025 at 3:52 PM
     To: sonia desai-law.com sonia@desai-law.com




      Adrianne De Castro
      Senior Associate




      Costa Mesa Office
      3200 Bristol Street, Suite 650 | Costa Mesa, CA 92626
      T (949) 614-5830 | F (949) 271-4190

      Austin Office
      2025 Guadalupe Street, Suite 260 | Austin, TX 78705
      T (512) 370-4023 | F (512) 687-3499

      desai-law.com


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      intended only for the recipient(s) listed above. Any review, use, disclosure, distribution or copying of this e-mail is prohibited except by
      or on behalf of the intended recipient. If you have received this email in error, please notify me immediately by reply email, delete this
      email, and do not disclose its contents to anyone.




        Begin forwarded message:

        From: Jaom Orozco <oalan4045@gmail.com>
        Subject: Fwd: Thanks for making a T-Mobile payment
                                                                                                                            EXHIBIT P
        Date: January 14, 2025 at 3:42:59 PM PST
        To: "adrianne desai-law.com" <adrianne@desai-law.com>



        ---------- Forwarded message ---------
        From: Maria Landeros <mariainez0214@gmail.com>
        Date: Tue, Jan 14, 2025 at 3:15 PM
        Subject: Re: Thanks for making a T-Mobile payment
        To: <oalan4045@gmail.com>




        On Fri, Aug 18, 2023 at 5:43 AM T-Mobile USA <donotreply@notifications.t-mobile.com> wrote:




                 Your payment summary
                 The payment you have made for T-Mobile® phone number / Account
                 Number             is complete.

                 Here are the details:
                                                                                                                            EXHIBIT P
                                                                                                                     MADERO-000351
Case 5:24-cv-00073-KK-DTB               Document 118 Filed 02/20/25                          Page 84 of 84 Page ID
                                               #:3974                                                   EXHIBIT P
        Here are the details:

        Payment Date: 8/18/2023
        Payment Amount: $206.14
        Payment Method:
        Reference Number: 5190044310

        Account information and activity can be accessed on the T-Mobile app or at
        my.t-mobile.com. T-Mobile for Business customers can access account
        information at tfb.t-mobile.com.


        This is an automated email. Please do not reply.
        If you have questions regarding your order or T-Mobile service, please visit my.t-mobile.com.

        This email was sent by:
        T-Mobile USA, Inc.
        P.O. Box 37380
        Albuquerque, NM 87176, USA

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                                                                                                        EXHIBIT P
                                                                                               MADERO-000352
